Case 5:18-md-02834-BLF Document 284-1 Filed 11/01/18 Page 1 of 43




     EXHIBIT A
Case 5:18-md-02834-BLF Document 284-1 Filed 11/01/18 Page 2 of 43

                                                                             ..                                           .
                               ANTRAG AUF ZUSTELLUNG EINES
             GERICHTLICHEN ODER AUSSERGERICHTLICHEN
                                    SCHRIFTSTUCKS IM AUSLAND
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   Oberelnkommen ilber die Zustellung gerlchtllcher und au8ergerlchtllcher Schrlft8tilcke Im Ausland
           In Zlvll- oder Handelssachen, unterzelchnet In Den Haag am 15. November 1985.
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  SUlndiges BUra, Januer 2015
Case 5:18-md-02834-BLF Document 284-1 Filed 11/01/18 Page 3 of 43




    Die unterzeichnete Behorde beehrt slch, nach Artlkel 8 des Oberelnkommons zu beschelnlgen,
    The underaignod authority has lh& honour to ceriJfy, in conformity with Artici9 6 or lhe Conven\ion,
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    D        Nach Artlkel 12 Absatz 2 des Oberelnkommens wlrd die ersuchende Stelle gebeten, die
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  Slilndiges Buro, Jenuar 2015
Case 5:18-md-02834-BLF Document 284-1 Filed 11/01/18 Page 4 of 43


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    THE ENCLOSED DOCUMENT IS OF A LEGAL NATURE AND MAY AFFECT YOUR RIGHTS AND OBLIGATIONS. THE 'SUMMARY OF THE
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    DOCUMENT ITSELF CAREFULLY. IT MAY BE NECESSARY TO SEEK LEGAL ADVICE .

    IF YOUR FINANCIAL RESOURCES ARE INSUFFICIENT YOU SHOULD SEEK INFORMATION ON THE POSSIBILITY OF OBTAINING LEGAL AlD OR
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  Standiges Buro,        Januar 2015
Case 5:18-md-02834-BLF Document 284-1 Filed 11/01/18 Page 5 of 43


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Case 5:18-md-02834-BLF Document 284-1 Filed 11/01/18 Page 6 of 43


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     Case 5:18-md-02834-BLF Document 284-1 Filed 11/01/18 Page 7 of 43
Fall 4:18-cv-00046-ALM Dokument 10 Vorgelegt am 29.05.18 Seite 1 van 23 PagelD #: 376



                          BEIM UNITED ST ATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                     SHERMAN DIVISION [US-
                           BEZIRKSGERICHT FUR DEN OSTLJCHEN
                          Bl ~7. IRK VON TEX1\ S, KAMMIHl SI IERMI\N!




PERSONALWEB TECHNOLOGIES, LLC, eine
                                                      ZIVILKLAGE NR. 4: I 8-cv-00046-ALM
Gesellschaft mit beschrankter Haftung mit Sitz in
Texas, und LEVEL 3 COMMUNICATIONS, LLC,
eine
Gesellschaft mit beschrankter Haftung mit Sitz in     ERSTE GEANDERTE KLAGE,
Delaware
                                                      GESCHWORENENPROZESS
                    Klagerin
       ./,                                            BEANTRAGT


  LESSON NINE GMBH, eine Gesellschaft
  rnit beschrankter Haftung mit Sitz in
  Deutsch land,

                     Beklagte.




                 ERSTE GEANDERTE KLAGE AUF PATENTVERLETZUNG


         Die Klagerin PersonalWeb Technologies, LLC (,,Klagerin" oder ,,PersonalWeb") erhebt
 diese erste geanderte Klage auf Patentverletzung gegen die Beklagte Lesson Nine GmbH,
 (,,Beklagte"). Die Klagerin Personal Web Technologies, LLC behauptet:


                                  ERSTE STELLUNGNAHME
        I.     Persona!Web und Level 3 Communications, LLC (,,Level 3") sind Vertragsparteien
einer Vereinbarung zwischen Kinetech, Inc. and Digital Island, Inc. vom I. September 2000 (die
,,Vereinbarung"). Gemal3 dieser Vereinbarung halten Persona!Web und Level 3 einen ungeteilten
Anteil von jeweils fiinfzig Prozent (50 %) an den Patenten in diesem Rechtsstreit: US-
Patentnummern 6,928,442; 7,802,310, 7,945,544 und 8,099,420 (,,Streitpatente"). Level 3 hat sich
aufgrund ihrer vertraglichen Verpflichtungen irn Rahmen der Vereinbarung auf Bitte von
Personal Web dieser ersten geanderten Klage angeschlossen.




                                                    -I-
    Case 5:18-md-02834-BLF Document 284-1 Filed 11/01/18 Page 8 of 43
Fall 4:18-cv-00046-ALM Dokument 10 Vorgelegt am 29.05.18 Seite 2 van PagelD #: 377




         2.     Gem1H3 der Vereinbarung hat Level 3 neben anderen Rechten bestimmte definierte
Rechte zur Nutzung, Anwendung, Lizenzierung, Unterlizenzierung und Durchsetzung und/oder
Klageerhebung der Streitpatente im Rahmen eines bestimmten Anwendungsbereichs {,,Exklusiver
Anwendungsbereich :fiir Level 3"). GemaB der Yereinbarung hat PersonalWeb neben anderen
Rechten bestimmte definierte Rechte zur Nutzung, Anwendung, Lizenzierung, Unterlizenzierung
und Durchsetzung und/oder Klageerhebung der Streitpatente im Rahmen anderer Bereiche als dem
exklusiven Anwendungsbereich fur Level 3 (,,Anwendungsbereich flir PersonalWeb").
         3.     Aile Anschuldigungen einer Patentverletzung, beschreibende Aussagen i.iber
PersonalWeb, beschreibende Aussagen Uber eine(n) Beklagte(n) (oder Produkte einer/s Beklagten)
und alle Aussagen in Bezug auf die Gerichtsbarkeit und den Verhandlungsort sind ausschlieBlich
die von PersonalWeb und nicht von Level 3. PersonalWeb tuhrt an, dass sich die strittigen
Patentverletzungen in diesem Fall alle auf den Anwendungsbereich von Personal Web beziehen und
darauf beschrankt sind. DemgemliB hat PersonalWeb Level 3 weder gemaB Abschnitt 6.4.1 der
Yereinbarung noch anderweitig bekanntgegeben, dass PersonalWeb eine Klage in Bezug auf den
exklusiven Anwendungsbereich von Level 3, weder eigens noch im eigenen Auftrag, erheben
mochte oder class PersonalWeb davon Kenntnis hat bzw. vermutet, dass die Beklagte gegen
irgendwelche der Rechte von Level 3 an den Patenten verstoBt bzw. verstoBen hat.


                                        DlE PARTEIEN
        4.        Die KUigerin PersonalWeb Technologies, LLC ist eine gemaB texanischem Recht
ordnungsgemiiB anerkannte Gesellschaft mit beschrankter Haftung mit Hauptgeschiiftssitz in 112 E.
Line Street, Suite 204, Tyler, TX 75702.
        5.      Die Klagerin Level 3 Communications, LLC ist eine nach den Gesetzen von
Delaware ordnungsgemaB anerkannte Gesellschaft mit beschrankter Haftung mit Hauptgeschaftssitz
in I 00 Century Link Drive, Monroe, Louisiana, 71203.
        6.      Die von PersonalWeb erhobenen Anschuldigungen einer Patentverletzung erfolgen
ausschlieBlich von PersonalWeb und fallen nicht in den exklusiven Anwendungsbereich von Level
3. Level 3 erhebt zu diesem Zeitpunkt und in diesem Fall keine Anschuldigungen auf
Patentverletzung gegen die Beklagte in Bezug auf den exklusiven Anwendungsbereich von Level 3.
        7.      Die Beklagte Lesson Nine GmbH ist nach bestem Wissen und Gewissen eine
deutsche Gesellschaft mit beschriinkter Haftung mit Hauptgeschiiftssitz bzw. regul1irem und
etabliertem Geschaftssitz in der Max-Beer-Str. 2, I 0119 Berlin.




                                              -2-
    Case 5:18-md-02834-BLF Document 284-1 Filed 11/01/18 Page 9 of 43
    Case 4:18-cv-00046-ALM Document 10 Filed 05/29/18 Page 3 of 23 PagelD #: 378




                        Gt<:RICIITSU(\IH 1,: rr UND VERIIANDLUNGSORT

        8.      Das Gericht hat sachliche Zustiindigkeit gemii/3 28 U.S.C. §§ 1331 and I 338(a), da
diese Klage im Sinne des Patentrechts der Yereinigten Staaten von Amerika, 35 U.S.C. §§ 1 et seq.
erhoben wird.
        9.      Dieses Gericht hat personliche Zustiindigkcit Ober die Beklagte gerni:i/3 Regelung
(k)(2) der US-Zivilprozessordnung (Federal Rules of Civil Procedure), weil die Beklagte als
deutsche Gesellschaft mit beschriinkter Haftung in den Yereinigten Staaten von Amerika nicht
eingetragen ist und sich der Geschaftssitz der Beklagtcn nicht in den Vereinigten Staaten von
Amerika befindet. Die Beklagte hat ausreichend Kontakte rnit den Vereinigten Staaten, so dass die
Auslibung der Gerichtsbarkeit gegenilber der Beklagten ordnungsgemal3 ist.
        l 0.   Gleicherrna13en ist auch der Verhandlungsort in diesem Bundesbezirk entsprechend 28
U.S.C. §§ I391(b)-(c) und 1400(b) angernessen. Die Beklagte ist in den Vereinigten Staaten von
Arnerika nicht ansassig.




                               HINTERGRUND        zu PERSONALW , n
        I I.     Die Streitpatente beziehen sich auf wesentliche Aspekte des Cloud-Computing,
einschlieBlich der Kennzeichnung von Dateien oder Oaten und des effizienten Abrufs dieser auf eine
Weise, bei der Obertragungsbandbreiten und Speicheranforderungen reduziert werden.
        12.      Die Fiihigkeit, spezifische Oaten zuverlassig zu identifizieren und darauf
ZL1zugreifen, ist illr jedes Computersystem oder Netzwerk entscheidend. Flir einen einzelnen
Computer oder innerhalb eines kleinen Netzwerks ist diese Aufgabe relativ einfach und urnfasst
lediglich die Benennung einer Datei, ldentifizierung dieser unter dern Namen und ihrern
Speicherplatz auf dem Computer und den Zugriff basierend auf ihrem Namen und Speicherplatz.
Frilhere Betriebssysteme ermoglichten dies durch standardisie11e Benennungskonventionen,
Kennungen von Speichergeri:iten und Ordnerstrukturen.
        13.      Die Erfinder der Streitpatente Ronald Lachman und David Farber erkannten, dass
die herkommlichen Methoden der Benennung, Lokalisierung und des Zugriffs auf Oaten in
Computer-Netzwerken den sich standig erweiternden, globalen Datenverarbeitungsnetzwerken
nicht standhalten konnten. Neue verteilte Speichersysteme verwenden Dateien, die Uber mehrere
Geriite und geografische Standorte verstreut gespeichert sind. Diese verschiedenen Standorte
konnten ungleiche Konventionen zur ldentifizierung von Speichergeraten und Datenpartitionen
verwenden. Gleicherma13en konnten verschiedene Benutzer unterschiedlichen Dateien bzw. Teilen
von Dateien identische Bezeichnungen geben, oder identischen Dateien unbewusst unterschiedliche
Bezeichnungen. Es gab keine Losung, mit der sichergestellt werden konnte, dass sich identische
Dateinamen auf die gleichen Oaten bezogen, und umgekehrt, dass sich unterschiedliche Dateinamen
auf unterschiedliche Oaten bezogen.




                                               -3-
   Case 5:18-md-02834-BLF Document 284-1 Filed 11/01/18 Page 10 of 43
    Case 4: 18-cv-00046-ALM Document 10 Filed 05/29/18 Page 4 of 23 PagelD #: 379




         Dies tuhrte bei expandierenden Netzwerken aufgrund van duplizierten Oaten nicht nur zu
,,Verstopfungen", es erschwerte aul3erdem die Lokalisierung von und Zugangskontrolle zu
gespeicherten Oaten.
         14.     Lachman und Farber entwickelten eine Losung, indem sie herkommliche
Benennungs- und Speicherkonventionen mit systemweiten ,,im Wesentlichen eindeutigen"
inhaltsbasierten Kennungen ersetzten. Oieser Ansatz wies ,,Datenelementen" aller Art, d. h. ,,den
Inhalten einer Datei, einem Teil einer Oatei, einer Seite im Speicher, einem Objekt in einem
objektorientierten Programm, einer digitalen Nachricht, einem digital abgetasteten (gescannten)
Bild, einem Tei) eines Video- oder Audiosignals oder jeder anderen Einheit, die in einer Falge van
Bits dargestellt werden kann, im Wesentlichen eindeutige Kennungen zu. Bei systemweiter
Anwendung wilrde diese Erfindung die Speicherung, Lokalisierung, Verwaltung, Synchronisierung
und den Zugriff auf s1imtliche Oatenelemente mittels ihrer inhaltsbasierten Kennungen ermoglichen.
         15.     Filr die Erzeugung einer im Wesentlichen eindeutigen, inhaltsbasierten Kennung
machten sich Lachman und Farber die Kryptogratie zu Nutze. Kryptografische Hash-Funktionen,
einschliel31ich M04, MOS und SHA, wurden bereits in Computersystemen verwendet, um die
Integritat von abgerufenen Oaten zu verifizieren (die eine sogenannte ,,Prllfsumme" (Checksum)).
Lachman und Farber erkannten, dass diese Hash-Funktionen einem entscheidenden neuen Zweck
dienlich sein konnten: mit der Anwendung einer kryptografischen Hash-Fun kt ion auf eine Bitfolge
(einem ,,Oatenelement") ergab sich ein im Wesentlichen eindeutiger Ergebniswert, namlich einer,
der: (1) bei Anderung des Oatenelements praktisch einen anderen Ergebniswert garantiert; (2) m it
einer anderen Bitfolge rechnerisch schwer zu reproduzieren ist; und (3) nicht verwendet werden
kann, um die ursprilngliche Bitfolge wiederherzustellen.
         16.     Diese kryptografischen Hash-Funktionen wilrden demnach jeder beliebigen
Bitfolge Jediglich basierend auf dem Inhalt eine im Wesentlichen eindeutige Kennung zuweisen.
Lachman und Farber schatzten die Wahrscheinlichkeit, dass diese Hash-Funktionen die gleiche
Kennung fllr zwei unterschiedliche Bitfolgen erzeugen (d. h. die ,,Kollisionswahrscheinlichkeit")
auf I van 229 • Lachman und Farber bezeichneten ihre inhaltsbasierte Kennung als ,,Wahrer Name"
(True Name).
         I 7.    Mit der Verwendung eines ,,True Name" konzipierten Lachman und Farber
verschiedene Oatenstrukturen und Methoden zur Handhabung von Oaten (wobei jedem
Oatenelement ein eindeutiger ,,True Name" zugeordnet wird) in eincm Netzwerk- unabhangig von
der Komplexitat der Oaten . oder dem Netzwerk. Oiese Oatenstrukturen sind libersichtlich und
ermoglichen ein schnelles Auffinden eines beliebigen Oatenelements innerhalb eines Netzwerks
durch Vergleich des ,,True Name" fllr das Datenelement mit den bereits im Netzwerk
        vorliegenden ,,True Names" fllr Oatenelemente. Jm Einsatz ermtiglicht die Handhabe von
Oaten bei Verwendung van ,,True Names" einem Benutzer, den Speicherort s1imtlicher Oaten in einem




                                             -4-
    Case 5:18-md-02834-BLF Document 284-1 Filed 11/01/18 Page 11 of 43
     Case 4: 18-cv-00046-ALM       Document 1O Filed 05/29/18        Page 5 of 23 Pagel D #: 380




        Netzwerk zu ermitteln, festzustellen, ob Zugangsberechtigung besteht, und speziellen
lnhalt selektiv freizugeben, was mit den herkommlichen Benennungskonventionen nicht moglich
ist.
        18.       Lachman und Farber reichten ihre Patentanmeldung am 11. April 1995 mit der
Beschreibung dieser und anderer Moglichkeiten ein, die Datenverarbeitungssysteme mit
inhaltsbasierten ,,True Names" anderen herkommlichen Dateibenennungssystemen Uberlegen
machten. Das erste ,,True Name"-Patent wurde am 2. November 1999 ausgcstellt. Das letztc der
Streitpatcnte ist abgelau fen und die hier dargelegten Anschuldigungen bcziehen sich auf den
Zeitraum vor Ablauf des letzten Streitpatents.
        19.       PersonalWcb hat ihre geistigen Eigentumsrechte gegenliber Verletzern erfolgreich
geltend gemacht und fuhrt ihre Durchsetzung der Streitpatente weiterhin fort. PersonalWeb hat mit
ihrer Geltendmachung Vergleiche erhalten und nicht exklusive Lizenzen hinsichtlich der
Streitpatente eingeraumt.


       1-II NTl.i:RCRUND IH:1·{ 11 £1( 1,/\GTRN

        20.     Nach bestem Wissen und Gewissen betreibt die KHigerin schon seit vor Ablauf des
letzten Streitpatents eine Webseite unter babbcl.com. Im Rahmen dieser Webseite wird
zugelassenen Benutzern Webseiten-Jnhalt in der hier beschriebenen Art und Weise 1 bereitgestellt.
Nach bestem Wissen und Gewissen nutzten die Webseiten-Server der Klagerin ein Mitteilungs- und
Autorisierungssystem zur Regelung der Verbreitung von lnhalten, d. h. welche Webseiten-lnhalte
von Webseiten-Servern und Zwischenspeichern bereitgestellt werden und auf welche Webseiten-
lnhalte der Browser eines Benutzers zugreifen darf, um die Webseite(n) der Klagerin darzustellen.
Nach bestem Wissen und Gewissen verwenden das System der Klagerin und die dam it verbundenen
Methoden zur Bereitstellung von Webseiten-lnhalten bedingte GET-Anfragen mit ,,lf-None-
Match"-Headers und zugehorigen ETag-Werten flir mehrere fur die Wiedergabe der verschiedenen
Webseiten der Klagerin erforderlichen Index- und/oder Asset-Dateien. Auf diese Weise zwingt das
System der Klagerin und das damit verbundene Verfahren sowohl zwischengeschaltete Cache-
Server und Endpunkt-Caches zur PrUfung,




        1 Obwohl die erste ge1inde11e Klage manchrnal in der Gegenwart und der zweiten
Vergangenheit verfasst ist und angenommen wird, dass die Systerne und Methoden der Kltigerin
aktuell in einer im Wesentlichen gleichen Weise betrieben werden, beziehen sich alle spezifischen
Anschuldigungen auf den Systembetrieb und die Ausfiihrung des Verfahrens im relevanten
Zeitraum.




                                               -5-
    Case 5:18-md-02834-BLF Document 284-1 Filed 11/01/18 Page 12 of 43
     Case 4:18-cv-00046-ALM          Document 10 Filed 05/29/18 Page 6 of 23 PagelD #: 381




        ob ein Zugriff auf die vorher zwischengespcichcrtcn Webseiten-Dateien der Kltigerin noch
zulassig ist oder ob zur Wiedergabe der Webseite der Klagerin auf neu autorisierte Inhalte
zugegriffen werden muss.
        21.     Nach bestem Wisscn und Gewissen hat die Beklagte damit die erforderliche
Bandbreite und die Menge der von Ursprungsservern oder Zwischenspeicher-Servern auf
Benutzeranforderung zur Wiedergabe der Webseiten der Beklagten zuzuftlhrcnden Oaten reduziert,
weil solche Server nur Dateien Obertragen mi.issen, deren Inhalt geandert wurde. So kann cine
effiziente Aktualisierung von zwischengespeicherten Oaten gewahrleistet werden, und nur dann,
wenn solche Inhalte geandert wurden. Dabei wird der Transaktionsaufwand reduziert und die
Obe11ragung autorisierter Inhalte vom nachstgelegenen Zwischenspeicher ermoglicht.
        22.     Nach bestem Wissen und Gewissen wurde flir Ausarbeitung und Zusammenstellung
der verschiedenen Webseiten der Beklagten eine ,,Ruby on Rails"-Architektur verwendet,
einschlie81ich Asset-Dateien, die zur Wiedergabe der Webseiten und zur Erzeugung eines
Fingerabdrucks des Inhalts der Asset-Dateien beim Erstellen der Webseiten genutzt wurden. Nach
bestem Wissen und Gewissen wurde der Fingerabdruck von einzelnen Asset-Dateien, die Tei! des
Inhalts der Webseite waren, in die Dateinamen der einzelnen Asset-Dateien miteinbezogen. Nach
bestem Wissen und Gewissen wurden die modifizierten Dateinamen dann als Tei] des Uniform
Resource Identifier (,,URI" (einheitlicher Bezeichner ftlr Ressourcen)) verwendet, um auf die
einzelnen Asset-Dateien Ober das Internet zuzugreifen. Nach bestem Wissen und Gewissen wurde
bei Anderung einer Asset-Datei ein neuer Fingerabdruck erzeugt und in den Dateinamen
aufgenommen. Der URI anderte sich damit ebenfalls entsprechend. Nach bestem Wissen und
Gewissen wurde der Fingerabdruck der Asset-Datei mithilfe einer ,,Message-Digest"-Hash-
Funktion erzeugt und als Hinweis auf lnhaltsanderungen verwendet. Des Weiteren wurden Asset-
Datei-URis (mit solchen FingerabdrOcken) in lndex-Dateien aufgenommen, die bei Anderung eines
URI aufgrund einer Fingerabdruckanderung neu erstellt wurden. Das hei8t, eine Inhaltstlnderung in
einer Asset-Datei flir eine bestimmte Webseite hatte eine Anderung des Fingerabdrucks, der URI
und folglich cine Inhaltsanderung der lndex-Datei flir diese Webseite zur Falge.
        23.     Nach bestem Wissen und Gewissen stand die Beklagte mit Amazon unter Vertrag
und verwendete das SJ-System von Amazon, um die Webseiteninhalte der Beklagten in deren
Auftrag zu speichern und bereitzustel !en, einsch I iel31 ich bestimmter Automatisierungsfunktionen zur
Ausflihrung bestimmter angefochtener Schrittc des Verfahrens und zum Bctrieb bestimmter
angefochtener Teile des Systems in ihrem Auftrag. Nach bestem Wissen und Gewissen hat die
Beklagte nach Erstellung und Vervollstandigung der Webseitendateien diese als Objekte in ein S3-
Hostsystem von Amazon hochgeladen. Nach bestem Wissen und Gewissen hat die Beklagte das
Hochladen ihrer Dateien




                                                 -6-
    Case 5:18-md-02834-BLF Document 284-1 Filed 11/01/18 Page 13 of 43
     Case 4:18-cv-00046-ALM         Document 10 Filed 05/29/18 Page 7 of 23 PagelD #: 382




        gesteuert und/oder geregelt sowic auch nachfolgende Schritte, die sich im S3-J-lostsystem
aufgrund der Entscheidung der Bcklagten ergeben, inhaltsbasierte Kennungen zu verwenden, z. B.
ETags von lnhalt von Index- und Asset-Dateien, die fur die Wiedergabe der Webseiten der
Beklagten verwendet wurden, so dass die Beklagte die eigene lnhaltsve1teilung unter Versto/3 gegen
die Streitpatente in der hier geschilderten Art und Weise steuern konnte.
        24.      Nach bestem Wissen und Gewissen umfasste der Wert eines Objekts eine Bitfolge
und beim Hochladen im Auftrag der Beklagten wurde der mit dem Objekt verbundene ETag-Wert
von dem S3-Hostsystem erzeugt, indem eine Hash-Funktion auf die Bitfolge angewendet wurde,
wobei zwei Objekte mit identischen Bitfolgen auch identische zugehorige ETag-Werte aufwiesen.
So wurde nach bestem Wissen und Gewissen bei Anderung des lnhalts eines Objekts, Hochladen in
das S3-Hostsystem und Erzeugung eines neuen zugehorigen ETag-Werts im Auftrag der Bcklagten
der jeweilige Dienst bzw. die Verwendung des Objektinhalts durch Zwischenspeicher-Server und
Endpunkt-Caches, wie beispielsweise Browser-Caches, autorisiert oder verweigert.
        25.      Nach bestem Wissen und Gewissen umfassten die Webseiten der Beklagten jeweils
eine lndex-Datei und eine oder mehrere Asset-Dateien. Die lndex-Datei enthielt URls fur Asset-
Dateien, die zur Ladung der Webseite erforderlich waren, wobeijede dieser Dateien als individuelles
Objekt mit eigenem URI hochgeladen wird.
        26.      Nach bestem Wissen und Gewissen wurde bei einer erstmaligen Anforderung einer
Webseite der Beklagten durch einen Zwischenspeicher-Server oder Endpunkt-Browser eine Hyper
Text Transfer Protocol (,,HTTP") GET-Anfrage mit der URI der Webseite ausgesendet und der
Ursprungsserver der Beklagten oder ein vorgeschalteter Cache-Server reagierte darauf mit der
Aussendung einer HTTP-200-Meldung, die die Jndex-Datei fur die Webseite und deren
entsprechendes zugehoriges ETag enthielt. Nach bestem Wissen und Gewissen hat der
Zwischenspeicher-Server oder ein Endpunkt-Browser dann einzelne HTTP-GET-Anfragen jeweils
mit einem in der Jndex-Datei enthaltenen Asset-URI ausgesendet und der Ursprungsserver der
Beklagten oder ein vorgeschalteter Cache-Server reagierte mit der Aussendung individueller HTTP-
200-Meldungen, die die angeforde1ten Asset-Dateien mit deren jeweiligen zugehorigen ETags
enthielten. Nach bestem Wissen und Gewissen hat der Zwischenspeicher-Server oder ein Endpunkt-
Browser nach Erhalt der HTTP-200-Meldungen die Index- und Asset-Dateien m it deren
zugehorigen URls und zugehorigen ETag-Werten zwischengespeichert und der Browser hat diese
zur Wiedergabe der angeforderten Webseite der Beklagten verwendet. Nach bestem Wissen und
Gewissen wurden die Zwischenspeicher-Server




                                               -7-
    Case 5:18-md-02834-BLF Document 284-1 Filed 11/01/18 Page 14 of 43
     Case 4: 18-cv-00046-ALM Document 10 Filed 05/29/18 Page 8 of 23 Pagel D #: 383




        und Browser-Caches veranlasst, Datenbanken/Tabellen zu flihren, die die URls der Asset-
/lndex-Dateien den entsprechenden Antworlen und, sofern zutreffend, den zugehorigen ,,Cache-
Control"-Headers und ETags zuordneten.
        27.       Nach bestem Wissen und Gewissen enthielten solche HTTP-200-Meldungen in
mindestens einem Fall ,,Cache-Control"-Headers mit ,,Max-Age"-Direktiven und/oder ,,Expires"-
Headers. Nach bestem Wissen und Gewissen konnen diese HTTP-200-Meldungen auch ,,Cache-
Control"-Header mit einer Revalidierungsanweisung (,,must-revalidate"-Direktive) enthalten haben.
        28.      Nach bestem Wissen und Gewissen hat die Beklagte durch die Beantwortung einer
HTTP-GET-Anfrage nach einer bestimmten Webseite durch Aussenden des lnhalts einer Index-
/Asset-Datei m it einem zugehorigen ETag dem Browser-Cache und alien Zwischenspeicher-Servern
erlaubt bzw. diese gezwungen, diesen In halt beim nachsten Aufruf zu verwenden und das ETag in
einer bedingten HTTP-GET-Anfrage mit einem ,,If-None-Match"-Header zu verwenden, um erneut
zu verifizieren, dass diese weiterhin zur Bereitstellung oder Nutzung des Inhalts autorisiert sind oder
ob sie zur Verwendung des Inhalts nicht mehr autorisiert sind und neuen Inhalt auf folgende Weise
verwenden mlissen.
        29.      Nach bestem Wissen und Gewissen hatte die Beklagte die Fahigkeit, zu stoppen
oder einzuschranken, wann ein zwischengespeicherter Cache oder Endpunkt-Browsers ein ETag zur
erneuten Autorisierung der Nutzung von zwischengespeicherten Index-/Asset-Dateien der beklagten
Webseitenbesitzerin verwenden konnte oder musste. Nach bestem Wissen und Gewissen hat die
Beklagte dies beispielsweise dadurch erreicht, dass ,,Max-Age"- oder andere Direktiven in ,,Cache-
Control"-Headers in HITP-Antworten mit Index-/Asset-Dateien einbezogen wurden. Nach bestem
Wissen und Gewissen konnte die Beklagte durch die Fahigkeit, die Verwendung des ETag durch
den Einsatz solcher Befehle komplett zu umgehen, steuern, ob das erfindungsgemiif3e System und
das erfindungsgemaBe Verfahren i.iberhaupt bei der Bereitstellung ihres Webseiteninhalts durch S3
zum Einsatz kamen. Nach bestem Wissen und Gewissen profitiert die Beklagte von der Verwendung
der ETags zur Steuerung der Verbreitung ihrer Webseiteninhalte durch Kommunikation an einen
nachgeschalteten       Zwischenspeicher      und      einen    Endpunkt-Browser,        welche      der
zwischengespeicherten Webseitendateien libertragen/verwendet werden dllrfen und welche neu
autorisierten Dateien diese erst zur Weitergabe/Wiedergabe der Webseiten der Beklagten erhalten
mUssen.
        30.      Nach bestem Wissen und Gewissen hat ein Endpunkt-Browser bei erneuter
Anforderung der Webseite der Beklagten gemaB der vorher mit der Index-Datei der Webseite
erhaltenen ,,Cache-Control"-Headers




                                                 - 8-
    Case 5:18-md-02834-BLF Document 284-1 Filed 11/01/18 Page 15 of 43
     Case 4:18-cv-00046-ALM Document 10 Filed 05/29/18 Page 9 of 23 PagelD #: 384




         eine bedingte GET-,,lf-None-Match"-Anfrage unter Verwendung des zugeh5rigen ETag-
Werts und dem URI flir die lndex-Datei gesendet, um informiert zu werden, ob der Browser noch
von der Beklagten autorisiert ist, die Webseitc mit ihrer lokal zwischengespeicherten lndex-Datei
fiir diese Webseite wiederzugeben.
         31.       Nach bestem Wissen und Gewissen hat gemal3 den ,,Cache-Control"-Headers ein
reagierender Zwischenspeicher-Server mit einem ETag fur den URI auf die Anfrage geantwortet und
erm ittelt, ob der gleiche zugehOrige ETag-Wert in dessen Liste van zugehOrigen ETag-Werten enthalten
war (wenn kein ETag-Wert flir den URI vorlag, wurde die Anfrage an einen vorgeschalteten
reaktionsfahigen Zwischenspeicher-Server weitergegebcn oder an den Ursprungsserver der Beklagten,
der dann die Antwort ausfllhrte).
         32.       Nach bestem Wissen und Gewissen hat der reagierende Server, wenn dieser Uber
Webseiteninhalte fiir den URI verfligte und eine Obereinstimmung zwischen dem mit der Anfrage
erhaltenen ETag und dem ETag bestand, das aktuell mit dem URI verbundenen war, eine HTTP-304-
Meldung zuri.lckgesendet; diese Meldung informierte den Browser, dass der gleiche Webseiteninhalt im
reagierenden Server vorlag und dass der Browser immer noch autorisiert war, die vorher
zwischengespeicherte lndex-Datei zur Wiedergabe der Webseite emeut zu verwenden. Nach bestem
Wissen und Gewissen hat der Browser nach Erhalt der HTTP-Protokoll-304-Antwort auf die lokal
zwischengespeicherte Index-Datei zur Wiedergabe der Webseite zugegriffen.
         33.       Nach bestem Wissen und Gewissen hat der reagierende Server, wenn das mit der
lndex-Datei verbundene und vom Endpunkt-Browser in der ,,lf-None-Match"-Anfrage gesendete
ETag nicht mit dem verbundenen ETag Ubereinstimmte, das beim reagierenden Server (oder anderen
vorgeschalteten Zwischenspeicher-Servern oder dem Ursprungsserver) fllr diesen URI vorlag, eine
HTTP-200-Antwort zusammen mit der neuen lndex-Datei und deren neuen ETag-Wert
zurUckgesendet. Die HTTP-200-Antwort wies den Browser darauf hin, dass er nicht autorisiert war,
die bisher zwischengespeicherte lndex-Datei zu verwenden (bzw. zu Ubertragen, wenn die HTTP-
200-Meldung von einem Zwischenspeicher-Server erhalten wurde). Als Reaktion auf den Erhalt der
HTTP-200-Meldung war der Endpunkt-Browser (bzw. ein Zwischenspeicher-Server) gczwungen,
seine entsprechenden Caches mit der neuen Index-Datei und dem zugehorigen ETag zu
aktualisieren. Der Browser hat die neue Jndex-Datei gelesen, um die darin enthaltenen Asset-Datei-
URis zu identifizieren .

       34.Nach bestem Wissen und Gewissen hat der Endpunkt-Browser filr spezielle Asset-Datei-
URls, ffir die ein Eintrag im Endpunkt-Browser vorlag und dieser Cache-Eintrag einen zugehorigen
ETag-Wert gemttl3 den




                                              -9-
    Case 5:18-md-02834-BLF Document 284-1 Filed 11/01/18 Page 16 of 43
    Case 4:18-cv-00046-ALM Document 10 Filed 05/29/18 Page 11 of 23 Page ID#: 385



vorher mit einer solchen Asset-Datei erhaltenen Cache-Control-lleaders enthielt, ebenfalls cine ,,lf-
None-Match"-GET-Anfragc mit dem URI und zugehorigen ETag gcsendet. Nach bestem Wissen
und Gewissen hat der reagiercndc Server gemaB den ,,Cache-Control"-Hcaders, wenn beim
reagierenden Server cin ETag-Wert ftlr den URI vorlag, den in der bedingten GET-Anfrage
erhaltenen ETag-Wert m it dem zugehorigen ETag ft.ir den URI vergl ichen. Nach bestem Wissen und
Gewissen hat der reagierende Server bei einer Obereinstimmung eine HTTP-304-Meldung und
einen zugehorigen ETag-Wert gesendet, wodurch der Browser erneut autorisiert wurde, den vorher
zwischengespeicherten Jnhalt dieser Asset-Datei zur Wiedergabe der Webseite zu verwenden. Bei
fehlender Obereinstimmung hat der reagierende Server eine HTTP-200-Meldung mit dcm ncuen
lnhalt fur diese Asset-Datei und deren neuen zugehorigen ETag-Wert gesendet. Die HTTP-200-
Meldung wies den nachgeschalteten Server oder den Browser darauf hin, dass dieser nicht autorisiert
war, auf den vorher zwischengespeicherten Inhalt fur diesen URI zuzugreifen, um diesen
weiterzugeben oder die Webseite wiederzugeben. Stattdessen hat der Browser als Reaktion auf cine
solche Meldung auf den in der HITP-200-Meldung gelieferten neuen Asset-Datei-Jnhalt zur
Wiedergabe der Webseite zugegriffen. So haben der End-Cache und die zwischengelagerten Caches
im Netzwerk ihre jeweiligen Datenbanken aktualisiert, um den neuen URI dem neuen Inhalt und
ETag-Wert zuzuordnen.
        35.       Nach bestem Wissen und Gewissen durfte der Browser flir bestimmte Asset-Datei-
URis in der Index-Datei, flir die eine Eingabe im Cache des Endpunkt-Browsers vorlag und diese
Cache-Eingabe keine zugehorigen ETag-Werte enthielt, den In halt vorbehaltlich der vorher mit einer
solchen Asset-Datei erhaltenen ,,Cache-Control"-Headers verwenden. Wenn die ,,Cache-Control"-
Headers die Verwendung der zwischengespeicherten Asset-Datei nicht zulieBen oder im
Zwischenspeicher des Endpunkt-Browsers keine Eingabe flir den Asset-Datei-URI vorlag, hat der
Browser eine HTrP-GET-Anfrage mit dem Asset-Datei-URI gesendet; und der reagierende
zwischengelagerte bzw. Ursprungsserver reagierte auf die GET-Anfrage mit der Aussendung der
Asset-Datei fllr diesen URI und, soweit zutreffend, den entsprechenden ,,Cache-Control"-Header
und/oder das zugehorige ETag in einer HITP-200-Meldung. Nach bestem Wissen und Gewissen
hat der Browser als Reaktion auf den Erhalt der HITP-200-Meldung die Asset~Datei (soweit
zutreffend) zwischengespeichert und deren ,,Cache-Control"-Header und/oder das zugehorige ETag
und die neu erhaltenen Asset-Dateien zur Wiedergabe der Webseiten der Bcklagtcn verwendet. Nach
bestem Wissen und Gewissen wurde bei Anforderung einer nochmaligen Wiedergabe der Webseite
zu einem spateren Zeitpunkt der obige Prozess durchlaufen, um zu erm itteln, auf welchen Datei in halt
der nachgeschaltete Zwischenspeicher bzw. der Browser weiterhin Zugangsberechtigung hattc oder
ob der nachgeschaltete Zwischenspeicher bzw.




                                                - IO -
    Case 5:18-md-02834-BLF Document 284-1 Filed 11/01/18 Page 17 of 43
    Case 4:18-cv-00046-ALM Document 10 Filed 05/29/18 Page 12 of 23 PagelD #:386



        Browser auf anderen autorisierten Jnhalt zur Wiedergabe der Webseite iiber die HTTP-304- und
HTTP-200-Meldungen zugreifen musste.
        36.      Nach bestem Wissen und Gewissen wiederholte der Browser diesen Prozess flir
mehrere Asset-Dateien, fur die er einen zugehorigen ETag-Wert hatte, sowie fUr Asset-Dateien mit
URis in der lndex-Datei.
        37.      Nach bestem Wissen und Gewissen hat die Beklagte auf diese Weise (1) ETag-
Werte und (2) Asset-Dateien, die durch URis mit Fingerabdri.icken basierend auf dem Inhalt der
Asset-Dateien referenziert wurden, verwendet: um das Verhalten von nachgeschalteten
Zwischenspeicher-Servern und Endpunkt-Caches zu steuern und damit sicherzustellen, dass diese
nur auf den zuletzt autorisierten Webseiteninhalt der Beklagten zur Weitergabe oder zur Wiedergabe
ihrer Webseiten zugreifen konnten.




                38.    PersonalWeb wiederholt und macht Paragraphen 1-37 erneut geltend, als waren
        diese hier umfassend dargelegt.

                39.    Am 9. August 2005 wurde das US-Patent Nr. 6,928.442 (das ,,'442 Patent")
ordnungsgemaf3 und rechtmaBig fur eine Erfindung unter dem Titel ,,Durchsetzung und
Oberwachung von lizenziertem Inhalt mittels inhaltsbasierten Kennungen" (Enforcement and
Policing of Licensed Content Using Content-Based Identifiers) ausgestellt. Personal Web hat einen
Eigentumsanteil am '442 Patent durch Abtretung, einschlief31ich der exklusiven Rechte, das '442
Patent im Patentbereich von PersonalWeb durchzusetzen, und halt diesen Eigentumsanteil am '442
Patent weiterhin.
        40.     Die Beklagte hat durch die Herstellung, Verwendung, den Verkauf, den Import
und/oder das Angebot von Produkten oder Dienstleistungen zum Yerkauf und/oder durch die
Steuerung der Verteilung ihres Webseiteninhalts in der hier beschriebenen Art und Weise zumindest
gegen Ansprilche IO und 11 des '442 Patents verstof3en. Die Patentverletzung besteht im Wortlaut
und/oder im Aquivalenzbereich und die Beklagte haftet flir ihre Verletzung des '442 Patents gema/3
35 u.s.c. § 271.
        41.     Anspruch 10 bezieht sich beispielsweise auf ,,ein Verfahren in einem System, in
dem eine Vielzahl von Dateien iiber eine Vielzahl von Computern verteilt wird." Nach bestem
Wissen und Gewissen hat die Beklagte ein Mitteilungs- und Autorisierungssystem zur Verteilung
einer Vielzahl von Dateien verwendet. So enthalten die Dateien der Beklagten beispielsweise lnhalt,
der zur Wiedergabe ihrer Webseiten Uber eine Vielzahl von Computern, wie beispielsweise




                                               - 11 -
    Case 5:18-md-02834-BLF Document 284-1 Filed 11/01/18 Page 18 of 43
    Case 4:18-cv-00046-ALM        Document 10 Filed 05/29/18 Page 13 of 23 PagelD #:387




         Produktionsserver, Ursprungsserver, Zwischenspeicher-Server und Endpunkt-Caches, die von
Browsern zur Wiedergabe der Webseiten der Beklagten genutzt werden.
         42.      Anspruch IO schildert dann den Vorgang des ,,Erhalts eines Namens fiir eine
Datendatei, wobei der Name zumindcst zum Tei I auf einer bestimmten Funktion der Oaten basiert
und die von der Funktion verwendeten Oaten die lnhalte der bestimmten Daiei umfassen". Wie oben
ausgelegt hat die Beklagte nach bestem Wissen und Gewissen ETags und Fingerabdrilcke in UR!s
filr ihre Index- und Asset-Dateien zur Wiedergabe ihrer Webseiten mithilfe einer Hash-Funktion
erzeugt oder anderweitig erhaltcn, wobci <las ETag und dcr Fingerabdruck in dem URI auf den
lnhalten der bestimmten Datei basierten. Des Weiteren hat die Beklagte die Zwischenspeicher-
Server und Endpunkt-Caches dazu veranlasst, die ETags und UR!s (die den Fingerabdruck
enthalten) von HTTP-200-Meldungen zu erhalten, die von den Ursprungsservern der Beklagten
versendet wurden. Nach bestem Wissen und Gewissen hat die Beklagte Zwischenspeicher-Server
und ihre Ursprungsserver dazu veranlasst, ETags und URls (die den Fingerabdruck enthalten) durch
bedingte GET-Meldungen von Endpunkt-Caches und Zwischenspeichern zu erhalten, wie oben
beschrieben.
         43.      Anspruch IO schildert dann den Vorgang der ,,Ermittlung, basierend zumindest auf
dem Nam en, ob eine Kopie der Datendatei zum ind est in einem der Computer vorliegt". Nach bestem
Wissen und Gewissen hat die Beklagte, wie oben dargelegt, ihre Ursprungsserver und
Zwischenspeicher-Server veranlasst, zwischen einem Endpunkt-Cache und einem ihrer
Ursprungsserver als Reaktion auf den Erhalt einer bedingten GET-Anfrage mit einem ,,If-None-
Match"-Header zu ermitteln, ob eine Datei vorlag, die dem URI (das den Fingerabdruck enthielt) in
der bedingten GET-Anfrage entspricht, und das ETag in der bedingten GET-Anfrage mit dem ETag
ftir den URI zu vergleichen und zu ermitteln, ob eine Kopie des lnhalts mit diesem ETag vorliegt.
Des Weiteren hat die Beklagte Browser am Endpunkt-Cache veranlasst, mithilfe des Fingerabdrucks
im URJ einer Asset-Datei zu ermitteln, ob eine zwischengespeicherte Kopie der entsprechenden
Asset-Datei vorlag.
         44.      J\nspruch IO schildert dann den Vorgang der ,,Ermittlung, ob eine Kopie der
Datendatei, die in zumindest einem der besagten Computer vorliegt, eine nicht autorisicrte Kopie
bzw. eine nicht lizenzicrte Kopie der Datendatei ist". Nach bestem Wissen und Gewissen hat der
Ursprungsserver bzw. der Zwischenspeicher-Server im Fall einer Obereinstimmung (wie oben
dargelegt) und der Feststellung, dass der ,,Max-Age"-Wert nicht abgelaufen war, und/oder nach
einer weiteren im Rahmen von anderen von der Beklagten auferlegtcn Direktiven erforderlichen
ReautorisierungsprUfung Uber ,,Cachc-Control"-Header ermittelt, dass die Kopie der im
nachgeschalteten Zwischenspeicher-Server und/oder im Endpoint-Cache vorliegenden Datei cine
autorisierte bzw. lizenzierte Kopie der Datendatei war. Umgekehrt hat der Ursprungsserver bzw. der
Zwischenspeicher-Server bei Fehlen einer Obereinstimmung ermittelt, dass die Kopie der im
nachgeschalteten Zwischenspeichcr-Scrvcr und/odcr Endpunkt-Cache eine nicht autorisierte bzw.
nicht lizenzierte Kopic der Datendatei war. Ebenso hat der Browser bei Feststellung, dass eine Datei
mit einem libereinstimmenden URI vorlag, deren .,Max-Age"-Wert noch nicht abgelaufen war,




                                               - 12 -
   Case 5:18-md-02834-BLF Document 284-1 Filed 11/01/18 Page 19 of 43
    Case 4:18-cv-00046-ALM Document 10 Filed 05/29/18 Page 14 of 23 PagelD #:388



und/oder nach weiteren Reautorisierungspriifungen, die von der Beklagten im Rahmen anderer
Direktiven in ,,Cache-Control"-Headers gefordert wurden, ermittelt, dass er noch weiterhin zur
Verwendung dieser Datei autorisiert war.
       45.      Die Patentverletzungshandlungen der Beklagten haben Schaden tllr PersonalWeb
verursacht und PersonalWeb ist berechtigt, von der Beklagten Schadensersatz als Folge der
unrechtma13igen Handlungen der Beklagten in einem vor Gericht nachzuweisenden Betrag
einzufordern.

ZWEITES KLAGEilF..GEHREN
Vlt.H.Lf.:T:Z.lJNG VON US-PATENT NH.. 7,8112,J lO
       46.    PersonalWeb wiederholt und macht Paragraphen 1-37 erneut geltend, als waren diese
hier umfassend dargelegt.


       47.      Am 21. September 2010 wurde das US-Patent Nr. 7,802,310 (das ,,'310 Patent")
ordnungsgemaB und rechtma13ig fur eine Erfindung unter dem Titel ,,Steuerung des Datenzugangs
in einem Datenverarbeitungssystem" (Controlling Access to Data in a Data Processing System)
ausgestellt. Personal Web hat einen Eigentumsanteil am '310 Patent durch Abtretung, einschlieBlich
der exklusiven Rechte, das '310 Patent im Patentbereich von Personal Web durchzusetzen, und halt
diesen Eigentumsanteil am '310 Patent weiterhin.
       48.       Die Beklagte hat durch die Herstellung, Verwendung, den Yerkauf, den Import
und/oder das Angebot von Produkten oder Dienstleistungen zum Verkauf und/oder durch die
Steuerung der Verteilung ihres Webseiteninhalts in der hier beschriebenen Art und Weise zumindest
gegen Anspriiche 20 und 69 des '3 IO Patents verstoBen. Die Patentverletzung besteht im Wortlaut
und/oder im Aquivalenzbereich und die Beklagte haftet fl\r ihre Verletzung des '310 Patents gem!iB
35 u.s.c. § 271.
       49.       Anspruch 20 bezieht sich beispielsweise auf ein ,,computerimplementiertes
Verfahren, das in einem System bestehend aus einer Vielzahl von Computern ausgefllhrt werden
kann". Nach bestem Wissen und Gewissen hat die Beklagte das erfindungsgema13e
computerimplementierte Verfahren durch den Einsatz eines Meldungs- und Autorisierungssystems
zur Steuerung der Verteilung von Datenelementen, wie beispielsweise verschiedene Index- und
Asset-Dateien, verwendet, die zur Wiedergabe ihrer




                                               - 13 -
    Case 5:18-md-02834-BLF Document 284-1 Filed 11/01/18 Page 20 of 43
    Case 4:18-cv-00046-ALM          Document 10 Filed 05/29/18 Page 13 of 23 PagelD #:389



        Webseiten Uber eine Yielzahl von Computern, wie beispielsweise Produktionsserver,
Ursprungsserver, Zwischenspcichcr-Server und Endpunkt-Caches, benotigt wurden.
        50.      Anspruch 20 schildert dann die ,,Steuerung der lnhaltsverteilung van einem ersten
Computer an zumindest einen anderen Computer als Rcaktion auf eine Anfrage, die ein erstes Gerat im
System von einem zweiten Gerat im System erhalten hat, wobei das erste Gerat Hardware mit mindestens
einem Prozessor enthalt und die Anfrage mindestens einen inhaltsabhangigen Namen eines bestimmten
Datenelements, der inhaltsabhangige Name zumindest zurn Teil auf einer Funktion von rnindestens
einigen der Oaten, aus denen das bestimmte Datenelement besteht, basiert, wobei die Funktion eine
,,Message-Digest"-Funktion oder Hash-Funktion umfasst und wobei zwei identische Datenelemente den
gleichen inhaltsabhangigen Namen haben". Nach bestem Wissen und Gewissen hat die Beklagte, wie
oben dargelegt, nachgeschaltete Zwischenspeicher-Server und Endpunkt-Caches veranlasst, bedingte
GET-Anfragen mit ,,If-None-Match"-Headers und darin enthaltenen ETags zu senden, die von
vorgeschalteten Cache-Server oder Ursprungsserver ausgestellt werden. Nach bestem Wissen und
Gewissen waren die ETags inhaltsabhangige Namen ft.ir ein Datenelement basierend auf dern Hashen
der Datenelementinhalte; und wenn sich der lnhalt einer Datei anderte, wurde ein neuer
inhaltsabhangiger Name festgelegt. Nach bestem Wissen und Gewissen hat bei dem Verfahren der
Beklagten ein erster Computer, wie beispielsweise der Zwischenspeicher-Server oder Ursprungsserver,
solche bedingten GET-Anfragen von einem zweiten Computer, wie beispielswcise einem Benutzer-
Browser oder anderen Zwischenspeicher-Servern, in Bezug auf Datenelemente, wie beispielsweise
Index- oder Asset-Dateien, erhalten, wobei die Anfragcn zu den entsprechenden Datenelementen
zugehorige ETags enthielten.
        51.      Anspruch 20 schildert dann, dass ,,das erste Gerat basierend zumindest zum Teil auf
einem solchen inhaltsabhangigen Namen eines solchen Datenelernents (A) die Bereitstellung des oder
den Zugriff auf den lnhalt durch den zumindest einen anderen Computer erlaubt, sofern nicht festgestellt
wird, dass der lnhalt nicht autorisiert oder nicht lizenziert ist, und andernfalls (B) die Bereitstellung des
oder den Zugriff auf den lnhalt durch diesen zumindest einen anderen Computer nicht erlaubt, wenn
fcstgestellt wird, dass der lnhalt nicht autorisiert oder nicht lizenziert ist. Nach bestem Wissen und
Gewissen hat der erste Computer, wie bcispielsweise ein vorgeschalteter Zwischenspeicher-Server oder
Ursprungsserver, eine Yielzahl von mit den Asset- und lndcx-Dateien der Beklagten verbundenen ETags
verwaltet. Nach bestem Wissen und Gewissen wurdc das ETag in einer Anfrage mit dem vom ersten
Computer verwalteten ETag ftir das von der Anfrage gesuchte bestimmte Datenelernent vergl ichen, um
festzustellen ob der zugehorige im nachgeschalteten Computer vorliegende lnhalt imrner noch zur
Yerwendung/Weitergabe autorisiert war oder ob neuer autorisierter lnhalt dafiir bereitgestellt werden
muss.




                                                  - 14 -
   Case 5:18-md-02834-BLF Document 284-1 Filed 11/01/18 Page 21 of 43
    Case 4: 18-cv-00046-ALM Document 10 Filed 05/29/18 Page 15 of 23 Page ID#: 390



Wenn festgestellt wurde, dass das mit dem erhaltenen ETag verbundene Datenelement noch
weiterhin nutzungsberechtigt war, hat der erste Computer einc HTTP-304-Meldung zuriickgesendet
und damit den nachgeschalteten Zwischenspeicher-Scrver bzw. Endbenutzcr-Cache autorisiert, auf
den bereits vorliegenden Dateiinhalt zuzugreifen, um diesen weiterzuleiten oder zur Wiedergabe der
Webseite zu nutzen. Nach bestem Wissen und Gewissen hat der erste Computer bei Feststellung,
dass das mit dem erhaltenen ETag verbundene Datenclement nicht liinger autorisiert war, eine
HTTP-200-Meldung zurUckgesendet und damit dem nachgeschalteten Zwischenspeicher-Server
bzw. Endbenutzer-Cache signalisiert, dass dieser nicht autorisiert war, auf den alten lnhalt
zuzugreifen, und den neuen autorisierten Dateiinhalt in der HTTP-200-Meldung zur Weitergabe
bzw. zur Wiedergabe der Webseite verwenden muss.
        52.      A Is weiteres Beispiel beschreibt Anspruch 69 ein ,,System, das in einem Netzwerk von
Computern betriebsfahig ist, wobei das System Hardware mit mindestens einem Prozessor und Software
in Verbindung mit dieser Hardware umfasst". Nach bestem Wissen und Gewissen hat die Beklagte die
Verteilung ihres Webseiteninhalts Uber ein System gesteuert, das ein Netzwerk von Computern umfasste,
wie beispielsweise ihre Produktionsserver sowie auch Ursprungsserver, Zwischenspeicher-Server und
Endpunkt-Caches, die alle Hardware einschlie131ich eines Prozessors umfassten . Nach beslem Wissen
und Gewissen hat die Beklagte Software in Verbindung mit dieser Hardware eingesetzt, wie
beispielsweise ,,Ruby on Rails", und Software zur lmplementierung des HTTP-Web-Protokolls sowie
die von den Amazon S3-Host-Servern verwendete Software, die die Beklagte zur Weiterleitung ihres
Inhalts verwendet hat.
        53.      Anspruch 69 schildert dann, dass das System ,,(a) in einem ersten Computer von einem
zweiten Computer eine Anfrage in Bezug auf ein Datenelement erhalt, dass diese Anfrage zumindest
einen inhaltsabhHngigen Namen filr das Datenelement enth!:ilt, dass der inhaltsabhangige Name
zumindest zum Teil auf einer Funktion der Oaten in dem Datenelement basiert, wobei die von der
Funktion verwendeten Oaten zur Festlegung des inhaltsabhHngigen Namen zumindest einen Anteil der
lnhalte des Datenelements umfassen, wobei es sich bei der verwendeten Funktion um eine ,,Message-
Digest"- oder Hash-Funktion handelt und zwei identische Datenelemente den gleichen
inhaltsabhiingigen Namen haben . Nach bestem Wissen und Gewissen hat die Beklagte, wie oben
dargelegt, nachgeschaltete Zwischenspeicher-Server und Endpunkt-Caches veranlasst, bedingte GET-
Anfragen mit ,,Jf-None-Match"-Headers und darin enthaltene £Tags und URis mit Fingcrabdriicken zu
senden, die von vorgeschalteten Cache-Server oder Ursprungsserver ausgestellt werden. Nach bestcm
Wissen und Gewissen waren die ETags und URls mit Fingerabdriicken inhaltsabhangige Namen fur ein
Datenelement, die durch Hashen der Dateiinhalte berechnet wurden; und wenn sich der Dateiinhalt
anderte, wurde ein neuer inhaltsabhangiger Name festgelegt. Nach




                                               - 15 -
    Case 5:18-md-02834-BLF Document 284-1 Filed 11/01/18 Page 22 of 43
    Case 4:18-cv-00046-ALM Document 1O Filed 05/29/18                 Page 16 of 23 PagelD #: 391




bcstem Wissen und Gewissen hat bei dcm System der Bcklagten ein erster Computer, wie
beispielsweise der Zwischenspeicher-Server oder Ursprungsserver, solche bcdingten GET-Anfragen
von einem zweiten Computer, wie beispielsweise einem Benutzer-Browscr, in Bezug auf
Datenelemente, wie beispielsweise Jndex- oder Asset-Dateien, erhalten, wobei mit den
Datenelemenlen verbundene inhaltsabhangige Namen, wie beispielsweise ETags und URls mit
Fingerabdrlicken, verwendet wurden.
        54.      Anspruch 69 schildert dann, dass ,,(b) als Reaktion auf eine solche Anfrage: (i) ein
Vergleich des inhaltsabhi:ingigen Namen des Datenelements mit einer Vielzahl von We11cn vcranlasst
wurde; und (ii) die Ermittlung erfolgte, ob Zugang zu dem Datenelement basierend auf der
Obereinstimmung des inhaltsabhi:ingigen Namen mit zumindest einem dcr besagten Vielzahl von Werten
autorisiert oder nicht autorisiert ist und (iii) basierend auf der Ermittlung, ob der Zugang zu dem
Datenelement autorisiert bzw. nicht autorisiert ist, Erlaubnis zur Bereitstellung des Datenelemcnts bzw.
zum Zugang dazu durch einen zweiten Computer gewahrt wurde, sofern nicht festgestellt wurde, dass
der Zugang zu dem Datenelement nicht autorisiert ist". Nach bestem Wissen und Gewissen hat der erste
Computer, wie beispielsweise ein vorgeschalteter Zwischenspeicher-Server oder Ursprungsserver, cine
Yielzahl von mit den Asset- und lndex-Dateien der Beklagten verbundcnen URI-Werten verwaltet; die
in einer bedingten GET-Anfrage vom zweiten (nachgeschalteten) Computer erhaltenen URI-Werte mit
dieser Yielzahl von URI-Werten verglichen; dieser Yergleich hat dem ersten Computer ermoglicht
festzustellen, ob der inhaltsabhi:ingige Name in der Anfrage mit einern der Yielzahl von gespeicherten
URI-Werten iibereinstimmte und ob Zugang zu dem Datenelement weiterhin autorisiert war oder nicht.
Nach bestern Wissen und Gewissen hat der erste Computer, insbesondere bei einer Obereinstirnrnung,
ermittelt, ob der irn nachgeschalteten Computer vorliegende verbundene lnhalt weiterhin zur Nutzung
bzw. Weiterleitung autorisiert war oder ob neuer autorisierter lnhalt dafiir bereitgestellt werden muss.
Wenn festgestellt wurde, dass das mit dem erhaltenen URI mit Fingerabdruck verbundenc Datcnelcment
noch weiterhin nutzungsberechtigt war, hat der erste Computer eine HTTP-304-Meldung
zurlickgesendet und damit den nachgeschalteten Zwischenspeicher-Server bzw. Endbenutzer-Cache
autorisiert, auf den bereits vorliegenden Dateiinhalt zuzugreifen, um diescn wcitcrzulciten oder zur
Wiedergabe der Wcbscite zu verwenden. Nach bestem Wissen und Gewissen hnt der crste Computer bei
Feststellung, dass das mit dem erhaltenen URI und Fingerabdruck verbundene Datcnelcmcnt nicht li:ingcr
autorisiert war, cine HTTP-200-Meldung zuriickgesendet und darn it dem nachgeschalteten
Zwischcnspcicher-Scrver bzw. Endbenutzer-Cache signalisiert, dass dieser nicht autorisiert war, auf den
alten lnhalt zuzugreifen und den neuen autorisierten Dateiinhalt in der HTTP-200-Meldung zur
Weiterleitung bzw. zur Wiedergabe der Webseite verwenden muss.




                                               - 16 -
    Case 5:18-md-02834-BLF Document 284-1 Filed 11/01/18 Page 23 of 43
    Case 4:18-cv-00046-ALM        Document 10 Filed 05/29/18 Page 17 of 23 PagelD #: 392




       55.      Die Patentverletzungshandlungen dcr Beklagten haben Schadcn fur PersonalWeb
verursacht und PcrsonalWcb ist bcrcchtigt, von der Beklagten Schadensersatz als Folge der
unrechtmaBigen Handlungen der Beklagten in einem vor Gericht nachzuweisenden Betrag
einzufordern.


            DRITTESKLAGEBEGEHREN
        VERLETZUNG VON US·-1 ATl•:NT N R. 7,9·lS,5·1·-4


       56.       PersonalWeb wiederholt und macht Paragraphcn 1-37 erncut geltend, als wiiren diese
hier umfassend dargelegt.

        57.        Am 17. Mai 2011 wurde das US-Patent mit der Nr. 7,945,544 (das ,,'544 Patent")
ordnungsgema/3 und rechtmiiBig ft.Ir eine Erfindung unter dem Ti tel ,,Ahnlichkeitsbasierte
Zugangskontrolle ftlr Oaten in einem Datcnverarbeitungssystem" (Similarity-Based Access Control of
Data in a Data Processing System) ausgestellt. Personal Web hat einen Eigentumsanteil am '544 Patent
durch Abtretung, einschlieBlich der exklusiven Rechte, das '544 Patent im Patentbereich van
Personal Web durchzusetzen, und halt diesen Eigentumsanteil am '544 Patent weiterhin.
        58.       Die Beklagte hat durch die Herstellung, Verwendung, den Verkauf, den Import
und/oder das Angebot von Produkten oder Dienstleistungen zum Yerkauf und/oder durch die
Steuerung der Verteilung ihres Webseiteninhalts in der hier beschriebenen Art und Weise zumindest
gegen Ansprllche 46, 48, 52, und 55 des '544 Patents verstoBen. Die Patentverletzung besteht im
Wortlaut und/oder im Aquivalenzbereich und die Beklagte haftet flir ihre Yerletzung des '544
Patents gemii/3 35 U.S.C. § 271.
        59.       Anspruch 46 bezieht sich beispielsweise auf ein erfindungsgemaBes
,,computerimplementiertes Verfahren". Nach bestem Wissen und Gewissen nutzt die Beklagte das
erfindungsgemaBe computerimplementierte Verfahren durch den Einsatz eines Meldungs- und
Autorisierungssystems zur Lokalisierung und Steuerung der Yerteilung von Datenelementen, wie
beispielsweise verschiedener Index- und Asset-Dateien, die zur Wiedergabe ihrer Webseiten
notwendig sind.
        60.        Anspruch 46 schildert dann den Vorgang ,,(A) fllr jede bestimmte Datei einer
Yiclzahl von Datcien: (a2) einen speziellen digitalen Schllissel flir die bestimmte Datei festzulegen,
wobei die bestimmte Datei einen ersten oder mehrere Tcilc umfasst.'· Nach bestem Wissen und
Gewissen umfassen alle Webseiten der Beklagten eine oder mehrere Asset- und lndex-Dateien,
wobei die lndex-Datei die URls rnit Fingerabdriicken einer Yielzahl von Asset-Dateien enthalt, die
die Webseite umfassen, und sobald die Index- und Asset-Dateien erstellt und vollstandig sind, ladt
die Beklagte sie als Objekte in ein S3-Hostsystem hoch. Nach bestem Wissen und Gewisscn, wird
der mit der lndex-Datei verbundene ETag-Wert




                                               - 17 -
    Case 5:18-md-02834-BLF Document 284-1 Filed 11/01/18 Page 24 of 43
    Case 4: 18-cv-00046-ALM Document 10 Filed 05/29/18                      Page 18 of 23 Page ID#: 393




durch die Anwendung eines Hash-Algorithm us auf die lnhaltc dcr lndex-Datei erzeugt, wobei zwei
beliebige lndex-Dateien mit identischern lnhalt identische zugehorige ETag-Werte aufweisen. Nach
bestem Wissen und Gewissen hat die Beklagtejedes Mal, wenn eine neue lndex-Datei auf cinen S3-
Server hochgeladen wird oder sich der lnhalt der lndex-Datei andert, die Festlegung eines ETag und
die Zuordnung dessen zur lndex-Datei zum Zeitpunkt des Uploads veranlasst. Nach bestem Wissen
und Gewissen gilt dies auch ftir ETags von Webseiten, die erzeugt werden, wenn die Jndex-Datei
hochgeladen wird.
         61.       A nsprl1ch 46 sch ildert dann, dass ,jeder Tei I des besagten ersten oder mehrerer Tei le
einen entsprechenden Teilwert aufweist, wobei der Teilwert jedes spezitischen Teils eines ersten
oder rnehrerer Teile auf einer ersten Funktion des lnhalts des spezifischen Teils basiert und zwei
identische Teile den gleichen von der ersten Funktion festgelegten Teilwert besitzen und der
spezielle digitale Schlussel fiir die bestirnrnte Datei mittels einer zweiten Funktion des einen oder
mehrerer Teilwerte des besagten ersten oder rnehrerer Teile festgelegt wird". Nach bestern Wissen
und Gewissen wird vor dem Hochladen von mehreren Asset-Dateien auf das S3-Hostsystem ein
Fingerabdruck tur jede dieser Asset-Dateien durch Anwendung einer Hash-Funktion auf die lnhalte
der Asset-Datei erzeugt und die Fingerabdriickc wcrden in die URls fllr die entsprechenden Asset-
Dateien eingefllgt. Nach bestem Wissen und Gewissen wird der ETag-Wert der Webseite durch
Anwendung einer zweiten Hash-Funktion auf die lnhalte der Index-Datei erzeugt, die aus den URls
einer oder rnehrercr Assct-Dateien bestehen, die die lnhalte der Webseite beinhalten. Nach bestem
Wissen und Gewissen andert sich aufgrund dessen, dass die URls der entsprechenden Asset-Datei
die Fingerabdriicke ihres Jnhalts enthalten, der ETag-Wert der Webseite und ein neuer ETag-Wert
wird zur Wiedergabe des Webseitcninhalts erzeugt, wenn sich der Jnhalt tindert, und zwei identische
Webseiten mit identischem lnhalt in deren lndex-Dateien erhalten den gleichen ETag-Wert.
         62.      Anspruch 46 schildert dann den Vorgang ,,(a2) des Hinzuftigens des speziellen
digital en Schliissels der bestirnmten Datei zu einer Datenbank, wobei die Oaten bank eine Zuordnung
der digitalen Schlilsseln von Dateien zu lnfonnationen liber die entsprechenden Dateicn enthalt."
Nach bestem Wissen und Gewissen hat die Beklagte den Ursprungsserver, Zwischenspeicher und
Browser-Caches veranlasst, Datenbanken/Tabellen zu tlihren, die das ETag der Indcx-Datci jeder
Webseite ihrem URI sowie lnformationen iiber die entsprechende Webseite, wie beispielsweise
,,Cache-Control"-lnfonnationen fur die Webseitc, zuordnete.




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    Case 5:18-md-02834-BLF Document 284-1 Filed 11/01/18 Page 25 of 43
    Case 4: 18-cv-00046-ALM Document 1O Filed 05/29/18 Page 19 of 23 Page ID#: 394




        63.      Anspruch 46 schildert dann ,,(8) die Festlegung eines SuchschlUssels basierend auf
Suchkriterien, wobei die Suchkriterien einen zweiten oder mehrere Teile umfassen, wobei jeder
zweite oder mehrere Teile der besagten Suchkriterien einen entsprechenden Teilwert aufweist bzw.
aufweisen und der Teilwertjedes speziellen Tei ls des besagten zweiten oder mehrerer Tei le auf der
ersten Funktion des lnhalts des speziellen Teils basiert und der SuchschlUssel anhand der zweiten
Funktion des einen oder der mehreren Teilwerte des besagten zweiten oder mehrerer Teile ermittelt
wird." Nach bestem Wissen und Gewissen hat die Beklagte bei erneutem Aufrufen einer Webseite
der Beklagten durch einen nachgeschalteten Zwischenspeicher-Server oder Browser diesen
veranlasst, eine bedingte GET-Anfrage mit einem ,,If-None-Match"-Header und dem mit der
Webseite verbundenen ETag-Wert zu senden. Nach bestem Wissen und Gewissen wurde der
erhaltene ETag-Wert mittels der zweiten Hash-Fun kt ion der Jndex-Datei der Webseite ermittelt, die
URls mit FingerabdrUcken ftir eine oder mehrere der Asset-Dateien enthalt, die die lnhalte der
Webseite umfassen.
        64.      Anspruch 46 schildert dann ,,(C) den Versuch, den SuchschlUssel einem digitalen
Schltissel in der Datenbank zuzuordnen". Nach bestem Wissen und Gewissen vergleicht der
reagierende Server bei Erhalt des ETag-Werts der Webseite in einer bedingten GET-Anfrage mit
einem ,,Jf-None-Match"-Header den erhaltenen ETag-Wert mit den ETags in seiner
Datenbank/Tabelle, die dem URI der Index-Datei der Webseite entsprechen, um zu ermitteln, ob ein
Ubereinstimmender Wert fur diese Webseite vorliegt.
        65.      Anspruch 46 schildert dann, dass ,,(D) bei Obereinstimmung des SuchschlUssels mit
einem speziellen Schlussel in der Datenbank Informationen Uber die dem spcziellen digitalen
Schltissel entsprechenden Datei bereitgestellt wird". Nach bestem Wissen und Gewissen sendet der
reagierende Server bei Ermittlung eines Ubereinstimmenden ETag-Werts filr die Index-Datei der
Webseite eine HTTP-304-Meldung mit lnformationen Uber die entsprechende Webseite, wie
beispielsweise ,,Cache-Control"-Informationen fLir die Webseite.
        66.      Die Patentverletzungshandlungen der Beklagten haben Schaden fur PersonalWeb
verursacht und PersonalWeb ist berechtigt, von der Beklagten Schadensersatz als Falge der
unrechtma13igen Handlungen der Beklagten in einem vor Gericht nachzuweisenden Betrag
einzu fordern.




                                               - 19 -
   Case 5:18-md-02834-BLF Document 284-1 Filed 11/01/18 Page 26 of 43
    Case 4:18-cv-00046-ALM Document 10 Filed 05/29/18 Page 20 of 23 PagelD #: 395




                            YlERTES KLAGEBEGEHREN
                      VERLETZUNG VON U8 - P TKNT NR 8 10tJ 1>1420
        67.      Personal Web wiederholt und macht Paragraphen 1-37 erneut geltend, als waren
diese hier umfassend dargelegt.
        68.      Am 17. Januar 2012 wurde das US-Patent Nr. 8,099,420 (das ,,'420 patent")
ordnungsgemaB und rechtmaBig fiir eine Erfindung unter dem Namen ,,Zugriff auf Oaten in einem
Datenverarbeitungssystem" (Accessing Data in a Data Processing System) ausgestellt. Personal Web
hat einen Eigentumsanteil am '420 Patent durch Abtretung, einschlieBlich der exklusiven Rechte,
das '420 Patent im Patentbereich von PersonalWeb durchzusetzen, und halt diesen Eigentwnsanteil
am '420 Patent weiterhin.
        69.      Die Beklagte hat durch die Herstellung, Yerwendung, den Verkauf, den Import
und/oder das Angebot von Produkten oder Dienstleistungen zum Verkauf und/oder durch die
Steuerung der Verteilung ihres Webseiteninhalts in der hier beschriebenen Art und Weise zumindest
gegen AnsprUche 25, 26, 27, 29, 30, 32, 34-36, und 166 des '420 Patents verstoBen. Die
Patentverletzung besteht im Wortlaut und/oder im Aquivalenzbereich und die Beklagte haftet fur
ihre Verletzung des '420 Patents gemaB 35 U.S.C. § 271.
        70.      Anspruch 166 bezieht sich beispielsweise auf,,ein System bestehend aus Hardware,
einschlieBlich zumindest eines Prozessors, und Software in Verbindung mit der besagten Hardware".
Nach bestcrn Wissen und Gewissen hat die Beklagte die Yerteilung ihres Webseiteninhalts Uber
Systeme gesteuert, die Hardware m it einem Prozessor, wie beispielsweise ihre Produktionsserver
und Ursprungsserver, Zwischenspeicher-Server und Endpunkt-Caches umfassten; und Software in
Verbindung rnit solcher Hardware, einschlieBlich ,,Ruby on Rails", die zur Erstellung ihrer
Webseiten verwendet wurde, Software, die zur lrnplementierung des HTfP-Web-Protokolls
verwendet wurde und die von den Amazon S3-Host-Servern verwendete Software, die die Beklagte
zur Weiterleitung ihres lnhalts verwendet hat.
        71.      Anspruch 166 schildert dann, dass ,,(A) fur ein bestimmtes Datenelement in einer
Reihe von Datenelernenten das besagte bestimmte Datenelement eine entsprechende Bitfolge
enthalt". Nach bestern Wissen und Gewissen hat das System der Beklagten die Verteilung von Asset-
Dateien und Index-Dateien gesteuert, die zur Bereitstellung ihrcr Wcbseiten erforderlich sind und
bestimmte Datenelemente darstellen, wobei jede dicser Dateien cine entsprechende Bitfolge enthalt.




                                               - 20 -
    Case 5:18-md-02834-BLF Document 284-1 Filed 11/01/18 Page 27 of 43
    Case 4:18-cv-00046-ALM Document 10 Filed 05/29/18               Page 21 of 23 PagelD #: 396




        72.      Anspruch l 66 schildert dann ,,(a I) die Festlegung einer oder mehrerer
inhaltsabhtingiger digitaler Kennungen flir das bestimmte Datenelement, wobei jede
inhaltsabhangige digitale Kennung zumindest zum Tei! auf einer bestimmten Funktion von
zumindest einigen der Bits in der bestimmten Bitfolge des bestimmten Datenelements basiert und
zwei identische Datenelemente die gleichen digitalen Kennungen aufweisen, wie mittels der
besagten bestimmten Funktion festgelegt". Nach bestem Wissen und Gewissen hat das System der
Beklagten l·Jash-Funktionen auf jede der Webseitendateien der Beklagten auf alle Bits des
Dateiinhalts angewendet, um sowohl einen Fingerabdruck als auch ein ETag fur den Inhalt der Datei
festzulegen; wobei zwei identische Datenelemente die gleichen ETag- und Fingerabdruckwerte
aufweisen. Nach bestem Wissen und Gewissen war der Fingerabdruck in dem URI der Datei
enthalten und der ETag-Wert mit dem URI der Datei verbunden.
        73.      Anspruch 166 schildert dann die ,,(a2) selektive Berechtigung, ein bestimmtes
Datenelement zur Bereitstellung an bzw. dem Zugriff durch oder von zumindest einigen Computern
in einem Netzwerk von Computern zuglinglich zu machen, wobei das Datenelement nicht ohne
Genehmigung ftlr den Zugriffverfligbar zu machen oder bereitzustellen ist, was zumindest zum Tei I
basierend darauf gelost wurde, ob zumindest eine der besagten einen oder mehreren inhaltsbasierten
digitalen Kennungen fllr das besagte bestimmte Datenelement mit einem Eintrag in einer oder
mehreren Datenbanken iibereinstimmt, wobei jede der besagten einen oder mehreren Datenbanken
eine Vielzahl von Kennungen enthlilt, jede der besagten Kennungen in jeder der besagten
Datenbanken rnindestens einem Datenelement von einer Vielzahl von Datenelementen entspricht
und die Kennung in jeder der besagten Datenbanken zumindest zum Tei I auf zumindest einigen der
Oaten in einem entsprechenden Datenelement basiert11 •
        74.      Nach bestem Wissen und Gewissen umfasste das System der Beklagten einen oder
mehrere Webseiten-Server mit Datenbanken, die mit den verschiedenen URls fur alle fur die
Wiedergabe ihrer Webseiten erforderlichen Asset- und lndex-Dateien verbundene ETag-Werte
enthielten; des Weiteren umfasste das System der Beklagten ein System von bedingten GET-
Anfragen mit ,,lf-None-Match"-Headers und HTTP-304- und HTTP-200-Meldungen, die die ETags
enthielten, wie oben naher ausgefiihrt, um sicherzustellen, <lass nachgeschaltete Caches nur auf
autorisierten Dateiinhalt zugreifen, um diesen Dateiinhalt entweder an weitere Nachschaltungen
weiterzuleiten oder filr die Bereitstellung der Webseiten der Beklagten zu verwenden. Nach bestem
Wissen und Gewissen hat das System insbesondere, wie oben ausfuhrlicher beschrieben, das durch
eine bedingte GET-Anfrage erhaltene ETag mit den ETags




                                               - 21 -
    Case 5:18-md-02834-BLF Document 284-1 Filed 11/01/18 Page 28 of 43
    Case 4: 18-cv-00046-ALM       Document 1O Filed 05/29/18            Page 22 of 23 Pagel D #: 397




in der Datcnbank verglichcn, um selcktiv zu ermitteln, ob der anfragcnde Computer auf den bereits
darin vorliegenden Dateiinhalt zugreifen konnte oder auf neu erhaltenen autorisierlen lnhalt
zugreifen musste.
        75.     Die Patentverletzungshandlungen der Beklagten habcn Schad en tlir PersonalWeb
verursacht und PersonalWeb ist bcrechtigt, von der Beklagten Schadcnscrsatz als Folge der
unrechtmaBigen Handlungen der Beklagten in einem vor Gericht nachzuweiscnden Betrag
cinzufordern.


                                        KLAGEANTRAG
        WESWEGEN die Klagerin PersonalWeb eine gerichtliche Entschcidung zu ihren Gunsten
 gegen die Beklagte aus folgenden Griinden beantragt:
         a)     Erklarung, dass die Beklagte die US-Patente mit der Nummer 6,928,442, 7,802,310,
 7,945,544 und 8,099,420 wie in dieser Klage dargclcgt verletzt hat;
         b)     Gewahrung von Schadenersatz fur den sich aus der Patentverletzung der Beklagten
 in Bezug auf die US-Patente mit der Nummer 6,928,442, 7,802,3 I 0, 7,945,544 und 8,099,420
 ergebenden Schaden sowie Zinsen fur die Zeit vor und nach dem Urteil in einem dem Nachweis
 entsprechenden Betrag;
         c)     Zuerkennung der Anwaltskosten gemaB 35 U.S.C. § 285 oder wie anderweitig
 gesetzlich zulassig; und
         d)     anderer entstandener Kosten sowie sonstige weitere Rechtsm ittel und Verfi.igungen, die
                das Gericht als fair und angemessen erachtet.




 Datum: 29.5.2018                                       Hochachtungsvol 1,

                                                        Isl Catherine Bartles
                                                        Catherine Ba11les
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                                                        Stafford Davis
                                                        Anwaltskammer Nr. 24054605
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                                                        STUBBS ALDERTON



                                               - 22 -
    Case 5:18-md-02834-BLF Document 284-1 Filed 11/01/18 Page 29 of 43
    Case 4:18-cv-00046-ALM Document 1O Filed 05/29/18 Page 23 of 23 Page ID#: 398




                                               & MARKILES, LLP
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                                               1025 Eldorado Boulevard
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\                                              david.wier@level3.com




                                      - 23 -
Case 5:18-md-02834-BLF Document 284-1 Filed 11/01/18 Page 30 of 43


 Fall: 4: 18-cv-00046 Dokument 3 Eingereicht am 18.1.2018 Seite 1 von 3 Seiten-10#: 332


    BEIM US-BEZIRKSGERICHT FUR DEN OSTLICHEN BEZIRK VON TEXAS
                        DIVISION SHERMAN

     PERSONALWEB TECHNOLOGIES, LLC,
     eine Gesellschaft mil beschriinkter Hartung
     nach texanischem Recht, und LEVEL 3
     COMMUNICATIONS, LLC, eine
     Gesellscha~ mit beschrankter Haftung nach
     dem Recht des Bundesstaats Delaware,                ZIYILKLAGE NR. 4: I 8-CY-46

     Klager,

     .I.                                                 GESCHWORENENYERHANDLU
                                                         BEANTRAGT
     LESSON NINE GMBH, cine Gesellschaft mit
     beschrankter Haftung nach deutschem Recht,

     Beklc1gte
        OFFENLEGUNCS~RKLAHUNG Dli:R t<LAGERIN PlrnSONAL WLW
                         TECHNOLOGIES LLC NACH REGEL 7.1
           Nach Regel 7.1 der Federal Rules of Civil Procedure erklart die Klagerin Personal Web
   Technologies, LLC, dass sie keine Muttergesellschaft hat und dass keine borsennotierte
   Gesell sch aft IO% oder mehr ihrer Anteile besitzt.
   LEVEL 3 COMMUNICATIONS, LLC                                  KLAGERIN
   Gescllschaft mit beschrankter Haftung
   nach dem Recht des Bundesslaats Delaware

           Level 3 Pinancing, Inc .                             Muttergescllscha~

           CenturyLink, Inc.                                    Hold inggesel Isch aft (borsennotiert)

   Datum: 18.Januar2018                  Hochachtungsvoll eingereicht,
                                         /Unterschri ft/ Stafford Davis
                                         Stafford Davis
                                         The Stafford Davis Firm, P.C.
                                         Anwaltskammcr Texas Nr. 24054605
                                         The Stafford Davis Pirm, P.C.
                                         The People's Petroleum Building
                                          I 02 No11h College A venue, 13 111 Fl.
                                         Tyler, TX 75702
                                         Tel: (903) 593-7000
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                                         E-Mail; sdavis@stafforddavisfirm.com
                                         IP LAW GROUP, LLP
Case 5:18-md-02834-BLF Document 284-1 Filed 11/01/18 Page 31 of 43


    Fall: 4:18-cv-00046 Dokument 3 Eingereicht am 18.1.2018 Seite 2 van 3 Seiten-lD#: 333


                                     Michael A. Sherman (Zulassungsantrag einzureichen)
                                     Jeffrey F. Gersh (Zulassungsantrag einzureichen)
                                     Wesley W. Monroe (Zulassungsantrag einzureichen)
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Case 5:18-md-02834-BLF Document 284-1 Filed 11/01/18 Page 32 of 43


 Fall: 4: 18-cv-00046 Dokument 3 Eingereicht am 18.1.2018 Seite 3 von 3 Seiten-10#: 334


                           ZUSTELLUNGSBESCHEINIGUNG

   lch bescheinige hiermit, dass ich am 18. Januar 2018 das/die oben genannte(n)
   Dokument(e) beim Urkundsbeamten des Gerichts mittels CM/ECF eingereicht habe,
   wodurch eine elektronische Mitteilung iiber diese Einreichung(en) automatisch an alle
   eingetragenen Rechtsbeistande ergeht.

                                                             l l Jntersclwi/i! Sto(lonl I J11v1.1·

                                                             Stafford Davis




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Case 5:18-md-02834-BLF Document 284-1 Filed 11/01/18 Page 33 of 43


  Fall: 4:18-cv-00046-ALM Dokument 11 Eingereicht am 30.5.2018 Seite 1 von 2 Seiten-10#: 401


   AO 440 (Uberarbeitet 06/12) Vorladung in Zivilklage

                      BEZIRKSGERICHT DER VEREINIGTEN STAATEN
                                      ftir den ostlichen Bezirk von Texas

     PERSONAL WEB TECHNOLOGIES, LLC, eine
     Kapitalgesellschaft nach texanischem Recht, und
     LEVEL 3 COMM UNI CATIONS, LLC, eine
     Kapitalgesellschaft nach dern Recht des
     Bundesstaats Delaware,

     Kliiger,
                                                             Zivilklage NR. 4: I 8-CV-00046-ALM
     ./.

     LESSON NINE GMBH, eine Gesellschaft mit
     beschrankter Haftung nach deutschem Recht,

     Bekla!!,le

                               VORLADUNG IN EINER ZIVILKLAGE
                           NACH ERSTERABGEANDERTER KLAGESCHRIFT

   An: (Name und Adresse des Bek/agten)
                                             LESSON NINE GMBH
                                             Max-Beer-Str. 2
                                             10119 Berlin
                                             Deutsch land

   Es wurde eine Klage gegen Sie eingereicht.
   lnnerhalb von 21 Tagen nach Zustellung dieser Vorladung (Tag des Erhalts ausgeschlossen) bzw.
   innerhalb von 60 Tagen, falls Sie die Vereinigten Staaten bzw. cine Bchordc dcr Vercinigten Staaten oder
   ein Beamter bzw. Angestellter der Vereinigten Staaten im Sinne von Fed. R. Civ. P. 12 (a)(2) oder (3)
   sind, mDssen Sie dem Klager eine Klageerwiderung auf die angchangte Klagcschrift bzw. den angehangten
   Antrag gemall Rule 12 der Federal Rules of Civil Procedure zustellen. Die Klageerwiderung bzw. der
   Antrag muss dem Klagcr oder dem Anwalt des Klagers zugestellt werden, dessen Name und Adresse wie
   folgt lauten:
                    Michael A. Sherman, Esq.
                    Stubbs Alderton & Markiles, LLP
                    15260 Ventura Blvd., 20th Floor
                    Sherman Oaks, CA 91403
                    Tclcfon (818) 444-4500
   Solltcn Sie es vers1iumen, die vorliegende Klage zu beantworten, wird gegen Sic ein Saumnisrn1eil fiir die
   in der Klage crsuchten Rechtsmittel ergehen. Sie mlissen lhre Erwiderung bzw. lhren Antrag auch beim
   Gericht einreichen.

   (Siegel)                                        URKUNDSBEAMTER
   Datum: 30.5.2018                        (Unterschrift)
                           Unterschrifi des Urkundsbeamlen bzw. slellver/re/enden Urkundsbeamlen
Case 5:18-md-02834-BLF Document 284-1 Filed 11/01/18 Page 34 of 43


   Fall: 4:18-cv-00046-ALM Dokument 11 Eingereicht am 30.5.2018 Seite 2 von 2 Seiten-lD#: 402




    AO 440 (Uberarbeitet 06/12) Vorladung in Zivilklage (Seite 2)
    Zivilklage Nr. 4: I 8-cv-46

                                   ZUSTELLUNGSBESTATIGUNG
(Dieser Tei/ ist nicht beim Gericht einzureiche11, auj]er soweit von Fed. R. Civ. P. 4 (1) vorgesehen)

    Diese Vorladung fUr (Name und ggf Titel der Einzelperson)
    erhielt ich pers<lnlich am (Datum) ___ ___ _____

    D        lch habe die Vorladung der Einzelperson personlich in (Ort) _ _ _ _ _ _ __ _ _ _ __
                                              am (Datum)________ __ -·---- _ _ _ _ _ zugestellt; oder

    0        lch habe die Vorladung am Wohnsitz bzw. Oblichen Aufenthaltsort der Einzelperson folgender
    Person (Name)                                                     tibergcben. Bei besagter Person handelt
    es sich um eine vollj1ihrige, kompetente Person, die an besagter Adresse wohnhaft ist. Die Obergabe fand
    am (Datum)                        _ _ statt und ich habe eine Kopie an die letzte bekannte Adresse der
    Einzelperson gesandt; oder

    D       !ch habe die Vorladung (Name der Einzelperson) _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
    _ _ _ __ _ __ ____ zugestellt. Besagte Person ist kraft Gesetz dazu berechtigt, gerichtliche
    Zustellungen im Auftrag von (Name der Organisation) anzunehrnen. Die Zustellung fand am (Datum) _
    _ _ _ _ _ _ _ _ _ statt; oder

    D        lch bringe die Vorladung ohne Unterschrift zuri.ick, da   _ _ _ _ _ _ _ _ _ ____,· oder

    D        Sonstige (Bille angeben):

    Meine Gebiihren betragen $__ fi.ir Rcisekosten sowie $_ _ _ fl.ir Dienstleistungen, insgesamt: $ 0.00.

    lch erkUire an Eides statt, dass die hierin gemachten Angaben wahrhcitsgernal3 sind.

    Datum:                                                    Unterschr(fi des Zustellers

                                                              Name und Titel in Druckbuchstaben

                                                              Adresse des Zustellers

    Zusatzliche lnformationen zum Zustellungsversuch etc. :
Case 5:18-md-02834-BLF Document 284-1 Filed 11/01/18 Page 35 of 43


 Fall: 4 :18-cv-00046 Dokument 2 Eingereicht am 18.1.2018 Seite 1 von 1 Seiten-lD#: 331

  AO 120 \f°Jberarbeitet 08/10 )
  AN:
                   Mail Stop 8                            MELDUNG UBER DIE EJNREJCHUNG
   Director of the U.S. Patent and Trademark             ODER DEN ENTSCHEID EINER KLAGE
       Office (Leiter des US-Patentamts)                    BZGL. EINES PATENTS ODER
                  P.O. Box 1450                                  WARENZEICHENS
          Alexandria, VA 22313-1450

   In Obcreinstimmung mit 35 U.S.C. § 290 und/oder 15 U.S.C. § l l 16 wird Ihnen hiermit
   mitgeteilt, dass eine gerichtliche Klage beim US-Bezirksgericht ilill ichc1 Bc,.irk von I cx, !i in
   Bezug auf die folgenden
   DMarkenzcichen oder 0Patente eingereicht wurde. (0Die Patentklage bezicht sich auf 35 U.S.C. § 292.)

  AKTENZEICHEN       EINGEREICHT AM:          US-BEZIRKSGERICHT:
  4:I8-CV-46         17.1.2018                Ostlicher Bezirk von Texas
  KLAGER(IN)                          BEKLAGTE(R)
  PERSONAL WEB TECHNOLOGIES, LLC und  LESSON NINE GMBH, eine Geselischaft mil
  LEVEL 3 COMMUNICATIONS, LLC         beschr1inkter Haftung nach deutschem Recht
  PATENT- ODER       DATUM DES PATENTS        INHABER DES PATENTS ODER
  MARKENZEJCHENNR. ODER MARKENZEICHENS MARKENZEICHENS
                                              PersonalWeb Technologies, LLC/
  I US5978791        2.11.1999
                                              Level 3 Communications, LLC
                                              Personal Web Technologies, LLC/
  2 US6928442        9.8.2005
                                              Level 3 Communications, LLC
                     21.9.2010                Personal Web Technologies, LLC/
  3 US7802310
                                              Level 3 Communications. LLC
                     17.1.2012                Personal Web Technologies, LLC/
  4 US8099420
                                              Level 3 Communications, LLC
                     17.5.2011                Personal Web Technologies, LLC/
  5 US7945544
                                              Level 3 Communications, LLC

   Im oben L1,l!11H11111c11 Fall wurden das/die fol gcndctnl P:-1lc11t(e)/Markenzeichen mi1 einbc:;,;o!-!,t.:n:
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    EINBEZOGEN AM .
                                      0Ab1inderung DKlageantwort OGegenantrag OAnderer Schriftsatz
    PATENT- ODER                      DATUM DES PATENTS ODER INHABER DES PATENTS
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    2                                 Format T/M/JJJJ
    3                                 Format T/M/JJJJ
    4                                 Format T/M/JJJJ
    5                                 Format T/M/JJJJ
   Im oben genannten Fall wurde der folgende Beschluss oder das folgende Urteil gefallt:

  I BESCHLUSS/URTEIL
                                   (DURCH) STELLY.                                 DATUM
    URKUNDSBEAMTER
                                   URK UNDSBEAMTEN
   Exemplar 1-Bci Einleitung cler Klage, clicscs Exemplar an den Leiter senclcn
   Exemplar 2-Bei Einreichung von Dokumenten, clurch die (ein) zusiitzliche(s) Patcnl(e) hinzugcfiigt
   werden, clieses Exemplar an den Leiter senclen
   Exemplar J-Uei Abschluss der Klage, dieses Exemplar an den Leiter sen den
   Exemplar 4---Exemplar rnr die Fall:ikte
   Drucken     Speichern als ...                                                                Neu cinstellen
Case 5:18-md-02834-BLF Document 284-1 Filed 11/01/18 Page 36 of 43


         Fall : 4:18-cv-00046 Dokument 4 Eingereicht am 18.1 .2018 Seite 1 von 3 Seiten-10#: 335


            BEIM US-BEZTRKSGERICHT FUR DEN OSTLICHEN HEZIRK VON TEXAS
                                DIVISION SHERMAN

   PERSONAL WEB TECHNOLOGIES, LLC, eine
   Gesellschaft mit beschrankter Haftung nach
   texanischern Recht, und LEVEL 3
   COMMUNICATIONS, LLC, eine Gesellschaft
   mit beschrankter Haltung nach dem Recht des
   Bundesstaats Delaware,                                 ZIYILKLAGE NR. 4: I 8-CY-46

   Klager,

   .I.                                                    GESCHWORENENVERHANDLUNG
                                                          BEANTRAGT
   LESSON NINE GMBH, eine Gesellschaft mit
   beschrankter Haftung nach deutschem Recht,




                         ANTRAG AUF GESCHWORENENVERHANDLUNG
             Nach Fed. R. Civ. P. 38(b) und Local Rule CY-38 beantragt die Klagerin PersonalWeb
   Technologies, LLC hiermit eine Geschworenenverhandlung flir alle in dieser Klage verhandelbare
   Ansprl'lche.
   Datum: 18. Januar 2018                 Hochachtungsvoll eingereicht,
                                          /Untcrschrift/ Sta/ford Davis
                                          Stafford Davis
                                          The Stafford Davis Firm, P.C.
                                          Anwaltskammer Texas Nr. 24054605
                                          The Stafford Davis Finn, P.C.
                                          The People's Petroleum Building
                                           102 No11h College Avenue, 13th Fl.
                                          Tyler, TX 75702
                                          Tel: (903) 593-7000
                                          Fax: (903) 705-7369
                                          E-Ma il: sdavis@stafforddavisfinn .com

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                                          Michael A. Sherman (Zulassungsantrag einzureichen)
                                          Jeffrey F. Gersh (Zu lassungsantrag einzureichen)
                                          Wesley W. Monroe (Zulassungsantrag einzureichen)
                                          15030 Ventura Blvd.,# 166
                                                                     ·1· ·
                                          Sherman Oaks, CA 91403tsJrl
                                          Telefon: (818) 444-9270
Case 5:18-md-02834-BLF Document 284-1 Filed 11/01/18 Page 37 of 43


 Fall: 4: 18-cv-00046 Dokument 4 Eingereicht am 18.1.2018 Seite 2 van 3 Seiten-lD#: 336



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                                      wesleymonroe@iplawllp.com

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                                      Two Allen Center
                                      1200 Smith Street, Suite 1600
                                      Houston, Texas 77002
                                      Telefon: (713) 244-5017
                                      ss@sethlaw.com

                                      David D. Wier, IV
                                      Yizepr§sident und
                                      Stellvertretender Leiter der Rechtsabteilung
                                      Level 3 Communications, LLC
                                      1025 Eldorado Boulevard
                                      Broomfield, CO 80021
                                      Telefon: (720) 888-3539
                                      david.wier@level3.com




                                             2
Case 5:18-md-02834-BLF Document 284-1 Filed 11/01/18 Page 38 of 43


 Fall: 4:18-cv-00046 Dokument 4 Eingereicht am 18.1.2018 Seite 3 von 3 Seiten-10#: 337


                           ZUSTELLUNGSBESCHEINIGUNG

   Ich bescheinige hiermit, dass ich am I 8. Januar 2018 das/die oben genannte(n)
   Dokument(e) beim Urkundsbeamten des Gerichts mittels CM/ECF eingereicht habe,
   wodurch eine elektronische Mitteilung Uber diese Einreichung(en) automatisch an alle
   eingetragenen RechtsbeisHlnde ergeht.

                                                            / Ur,/ersd1ri/1/ ,"i'to/f(m / /Jo vis

                                                            Stafford Davis




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                        Case 5:18-md-02834-BLF Document 284-1 Filed 11/01/18 Page 39 of 43
                              Fall: 4:18-cv-00046 Dokument 1-6 Eingereicht am 17.1.2018 Seite 1 von 2 Seiten-lD#: 329
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  (c) Anwtlltc (Nume dcr Kanzlei, Adressc, Telcfonnummcr) StalTord Davis, The StalTorc.J                     fllNWEIS: BEi ENTEIUNUNGSKLAGEN ORT DER
  Davis Firm, l'.C., The l'cople's Petroleum Building, 102 North College /\vc11uc. IJ'h                     13ETROffENEN l'ARZELLE ANGEBEN
  Floor. Tvlc r, TX 755 702: (903) 593-7 000                                                                AnwlHlc (foils bckannll
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                   Fall: 4:18-cv-00046 Dokument 1-6 Eingereicht am 17.1.2018 Seite 2 von 2 Seiten-10#: 330
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 I. a) Kliigcr-Bckl:igte. Na111cn (Nachnamc, Vornmnc. /\nf'angsbuchstabt: des weitcrcn Vornamens) des KHigcrs und l3ckluglcn ci11tragc11. Falls cs sich
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 b) Landkreis des WohnsiL,.cs. Flir jcdc cingcrcidrlc Zivilklagc, mil Ausn:.ihrm: von Ptillen, in dcnen die US/\ Kl!lgerin isl, den Nam en des Landkrciscs
 (County) dntrngcn. wo dcr/dic crstc Kliigcr/in zurn Zcitpunkt dcr Einrcic.:hung wohnhaft isl. In rtlllcn, in <lenen die US/\ Klilgerin isl. gcbcn Sic den
Namcn des J .andkrciscs an. in dcncn dcr/dic crslc aul'gcf0h11c Bcklagtc zum /.citpunkt dcr Einreichung wohnhuft isl. (1 IINWEIS: Lki Grundhcsilzfllllcn
 isl dcr Landkrcis des .,Bcklaglcn .. dcr Standol'l des strittigen Grundstlicks.)
 c) /\nwtiltc. Den Unternehmcnsnarncn, /\drcssc, Telefonnummcr und zusUindigcn Anwalt cintragcn. Bei mchrcrcn Anwfiltcn gcbcn Sic dicse in cincm
 Anhang an un<l lragcn Sic in dicse111 Allsdrnitt ,.(sichc Anhang)" cin.
 II. Gcrichtsbarkeit. Die Grundlagc l'iir die gcrichtlichc /.ustlindigkcit isl in dcr Zivilprozessordnung, Pedt:ral Ruic of Civil Prnccdure 8(a) nul'getlihrt,
 die vorsieht. dass Gerichlsbnrkeitcn in Klugccinreichungen angezeigt wcrdcn. Krcuzcn Sic cincs der Kilstchen an. Falls es mehr uls cine Grundlagc fUr
 die gcrichllichc Zusliindigkcit gibl, gilt di e l'olgende Rungfolge.
 US-Regierung nls Klttgcrin. (I) Die (jcrichtsbarkt:it basiert aur 28 lJ.S .C. §§ 1345 und 1348. Kingen von BchOruen und Amtstrtigcrn dcr Vcrciniglcn
 Staaten gchorcn zu dicscr Katcgoric.
 lJS-Regicrung ab Bcklagtc. (2) Falls der/die Kltiger/in die Vcn.:inigtcn Staatt:n, seine Amtstriigcr ndcr BchOr<lcn verklagt, hitte dicst:s Kilstchen
ankrt:uzcn.
 Bundessl,mllichc Suchc (lJS-Rcgicrung isl keine Partei in dcr Klage). (3) Dies hczicht sich auf Klagen untcr 28 U.S.C. §§ 1331, in <lenen sich die
gcrichtlichc Zustilndigkcit aus dcr Vcrl'assung dt:r Vcrcinigtcn Staatcn crgibt, cinem Nachtrng zu der Verfassung, einer Anordnung dt:s Kongrcsses oder
eines Abkommcns dcr Vcrcinigtcn Staaten. In Fiillcn, in ucncn die US/\ eine Partei isl, gill jewcils die Kategoric USA als Kli:lgcrin oder US/\ als
13cklagtt:, uncl Kiistchcn I oder 2 solltcn angckrcuzt wcrden.
 Verschicdcnc Slaatsangchiirigkeitcn. (4) Dies hczicht sich nuf Klagcn untcr 28 LI.S.C. §§ 1332, in denen die Partcicn Stnatsbllrger vcrschicdener Staaten
sind. Wenn Ki:lstchcn 4 angckreuzt ist , muss die Stnatshiirgcrschan <lcr vcrschiedenen l'artcien angekrcuzt werden. (Siche Abschnitt 111 untcn, Klagt:n in
bundcsslaatlichen Sachcn haben Vorrnng vor Ftillcn mil vcrschiecknen Staatsangch6rigkcitcn.)
 lll. Wohnsitz (St:rntshiirgcrsclrnft) dcr Hauptpartcicn. Dicscr Abschnill des JS 44 muss ausgefullt werdcn, wenn oben verschiedene
Staatsangchclrigkeilen angcgcbcn wurdcn.
JV. Vcrfohrcnstyp. Kreuzen Sic <las zutrdTcnde Kilslchcn un. Wcnn dcr Vcrfahrt:nstyp nichl crmittelt wt:rdcn kann, stellen Sic sichcr, <lass dcr
 Klagegrund in Abschnitt VI nusrcicht , um cs dcm Justizangcstclltcn hzw. dcrn/dcn stalistischcn Mitarbeiter/n dcr Vcrwaltungsabteilung zu cnnilglichcn,
den Vcrl'ahn:nstyp l'cslzulcgcn . Wcnn dcr Klagcrund aufmchr als cinen Vcrfahrcnstyp pass!, wtihlcn Sie den dclinitivsten aus.
V. llerkunft. Kreu,.cn Sie cincs dcr sicbcn Kiis1d1en an.
Erstvcrfahrcn. (I) Fiille. die in de11 lJS-A111tsgcrichtcn (District Courts) cingcleitct wcrdcn.
Vom staatlichcn Gerich! wcitcrgcleilcl. (2) Verfalrn:11, die in ci11c111 staatlichcn Gerich! (State Cour·t) cingclcitct werdcn. kilnncn untcr Title 28 U.S.C §
 1441 wcitcrgclcitct werdcn . Wenn dcr /\ntrag ,1ufWcitc rleitu11g bewilligl wurdc. krcuzcn Sic diescs Kilstchcn an.
Vom ncrul't111gsgcricht weitergclcitcl. (3) Krcuzcn Sic dicscs Kiislchcn an, wcnn cin Fall zur Weitcrvcrlrnndlung an clns /\mtsgcricht wcitcrgcleitct
wurdc. Das Datum dcr Wcilcrlcilung gilt als l:inrcichungsdatum.
Wicdcrcri\lTnct. (4) Krcuzen Sic dieses Kiislchc11 an. wen11 cin Fall in1 Amtsgcricht wicderercilTnet wird. Das Datum der WicdcrcrOffnung gilt als
Einreichungs<lat u111.
Von t:im:111 nndcrcn Bczirk wcitc1gcll:i1ct. (5) Bci Fallen. die tinter Title 28 U.S.C § 1404(u) wt:itcrgclcitct wurtlcn. Nicht flir Wcilerleitungcn inncrhalh
des Bezirks oder Mulli-Bczirksvcrrahrcn vcrwcnclcn.
Multi-Bczirksverfohrcn. (6) Krcuzcn Sic clicscs Ktistchcn nn, we1111 ein Multi-Bczirksverfahren in dt:n lsezirk untcr Titlt: 28 U.S.C. § 1407 i.ibcrwicscn
wird. Wenn cliescs Kiistchen angckrcuzt ist. (5) ohen nicht ankrcuzcn .
/\nrul'ung de.~ 1-kzirksrichtcrs vonscitcn des Magistrntsgcrichts. (7) Dicscs Kiistchen ankreuzcn bci Bcrufung cincs l3cschlusscs cines Magistratsrichtcrs.
VI. Klagcgrund. Flihn.:n Sic das /.iv ilgcsctz nn, das sich dirckt auf lhrcn Kh1gcgrund bczicht und bcschrcibcn Sic lctztcren kurz. Geben Sic keinc
Gesctze ,111, die sich auf Gcrichtsharkciten bcziehen, es sci denn cs licgcn verschicdcnc St:i:its:ingchorigkeitcn vor. Beispicl: U.S. Civil Statute 47
lJ SC § 55]. Kurzbeschn:ibung: l l1il1c1'111:tc1 I 1111.lliJ JII.! 11111 Ka l1cl ~c11 id!.
VII. Klagcgesuch. Sammclkl.igc. Krcuzcn Sic dicses K1istchcn an, wcnn Sil: cine Sammclklagc untcr Fcdernl Ruic of Civil Procedure 23 einreiehen.
Funkrung. Gcbcn Sic den lktrag in Dollar an. dcr gcfordcrt wir<l, oder cine nndcrc Fordcrung, z. 13. cine einstweilige Vcrfligung.
/\nirug mrl'C,eschwnrencnvcrhandlung : Kn:uzcn Sic <las cntsprcchcndc Kiistd1cn an. um anzuzcigen, ob cine Jury bcnntrngt wircl oder nicht.
VIII. Vcrwnndtc Fiillc. Dicser Abscl111itt cks JS 44 wi,d dazu bcnut zt, nnhiingigc vcnvandtc Ftillc zu linden. foils zutrcflcncl. Falls cs verwnncltc
nnhungigc Fill le giht. trngen Sic den/die cntsprcchcndc/11 Vcrl'ahrcnsnu111111cr/n sowic den Na men clt:s/der Richter cin .
Datum und Untcrschrift des Anw:ilts. Dns Dcckblall fUr /.ivilklagcn dalicrcn und 1111tcrzeicl111cn .
   Case 5:18-md-02834-BLF Document 284-1 Filed  11/01/18
                                            Apparatnummer:        Page 41 of 43
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VERSAND
                     Case 5:18-md-02834-BLFLU~ICLLUNu~LCUuNI~
                                             Document 284-1 Filed 11/01/18 Page 42 of 43
                                                                         CERTIFICATE

                                                                         ATTESTATION


     Die unterzeichnete BehOrde beehrt sich, nach Artikel 6 des Obereinkommens zu bescheinigen,
     The undersigned authority has the honour to certify, in conformity with article 6 of the Convention,
                                                                          a
     L'autorite soussignee a l'honneur d'attester conformement !'article 6 de ladite Convention,
     CB:!        1. dass der Antrag erledigt worden isl ')
                     that the document has been served ')
                     que la demande a ete executee ')
                                                    ------------
                       am (Datum)                                                            28.09.2018
                       the (date)
                       le (date)

                       in (Ort, Strar..e, Nummer)                                            10119 Berlin, Max-Beer-Strar..e 2
                       at (place, street, number)
                       a (localite, rue, numero)                                      _..._   ______________________                                                    ~




                 -
                                              -
                       in einer der folgenden Form en nach Artikel 5:
                       in one of the following methods autohorised by article 5:
                                                                  a
                       dans une des formes suivantes prevues !'article 5:

                 ~        a)    in einer der gesetzlichen Formen (Artikel 5 Absatz 1 Buchstabe a) ').
                                in accordance with the provisions of sub-paragraph a) of the first paragraph of article 5 of the Convention ').
                                selon les formes legales (article 5, alinea premier, lettre a) *).

                 D        b)    i1HJeF- rolgenden.besonderfffi· Form..!.)i-
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     desli11ataire de l'aGle,


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                 · --que-la demande n'a pas-ete-&KeWl~&.&n-ralsan-des fails suiv~nls '}:



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                 In-conformity wllh-lhe-seoond-.par,agraph of article-42-of0 lhe-Gonvenlion, tile applicant is requeste<J to pay--or--reimburse--the--&xpenses
                 detailed 1ntheallac;he{i-statement ').
                 Confofmement-a J!article-12, alinoo b-de-ladite Convention, le 10quaranl est prie-de. payar-ou de rembouraer les frals dont-le .<Jatail-figure
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